(1 of 134), Page 1 of 134   Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 1 of 55




                                         No. 24-3378
              __________________________________________________________________

                      IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT
              __________________________________________________________________

                                              JOSE RUIZ,
                                           Plaintiff-Appellee,
                                                     v.

                             THE BRADFORD EXCHANGE, LTD.,
                                     Defendant-Appellant.
              __________________________________________________________________

                        On Appeal from the United States District Court
                             for the Southern District of California
                               Case No. 3:23-cv-01800-WQH-KSC
                                The Honorable William Q. Hayes
              __________________________________________________________________

                      OPENING BRIEF OF DEFENDANT-APPELLANT
                            THE BRADFORD EXCHANGE, LTD.
              __________________________________________________________________

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(2 of 134), Page 2 of 134   Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 2 of 55




                                    DISCLOSURE STATEMENT

                    Pursuant to Federal Rule of Appellate Procedure 26.1(a),

             undersigned counsel states that Defendant-Appellant The Bradford

             Exchange, Ltd. is a wholly owned subsidiary of The Bradford

             Hammacher Group, Inc.


             Dated: August 7, 2024                    /s/ Kate T. Spelman
                                                      Kate T. Spelman
                                                      Counsel for Defendant-Appellant
                                                       The Bradford Exchange, Ltd.




                                                      i
(3 of 134), Page 3 of 134          Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 3 of 55




                                                 TABLE OF CONTENTS

             DISCLOSURE STATEMENT ..................................................................... i
             INTRODUCTION ....................................................................................... 1
             JURISDICTIONAL STATEMENT ............................................................ 3
             ISSUES PRESENTED ............................................................................... 4
             STATEMENT OF THE CASE ................................................................... 5
                      A.        Ruiz’s Complaint. ..................................................................... 5

                      B.        Proceedings in Federal Court. ................................................. 6

                      C.        Proceedings in This Court. .................................................... 12

             SUMMARY OF THE ARGUMENT ......................................................... 12
             STANDARD OF REVIEW........................................................................ 14
             ARGUMENT ............................................................................................. 15
                 I.        The District Court Erred in Remanding Due to a Lack of
                           Equitable Jurisdiction. ............................................................... 16
                      A.        A District Court Is Not Permitted to Remand a Case
                                for Lack of Equitable Jurisdiction. ........................................ 16

                           1.       No statutory basis for remand exists. .............................. 17

                           2.       No non-statutory basis for remand exists. ....................... 19

                           3.       The district court erred in remanding based on a
                                    newly invented doctrine that it likened to
                                    abstention. ......................................................................... 21

                      B.        Even If a District Court Can Recognize New Grounds
                                for Abstention, No Basis Exists for Doing So Here. ............. 27

                           1.       Recognizing abstention here undermines CAFA. ............ 28

                           2.       Recognizing abstention here undermines the
                                    purpose of the adequate-remedy-at-law doctrine. ........... 31



                                                                    ii
(4 of 134), Page 4 of 134       Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 4 of 55




                        3.      Recognizing abstention here does not vindicate any
                                state policy. ........................................................................ 33

                II.     The District Court Erred in Disregarding Bradford’s
                        Waiver of Its Equitable Defense. ............................................... 36
             CONCLUSION ......................................................................................... 42
             STATEMENT OF RELATED CASES ..................................................... 44
             CERTIFICATE OF COMPLIANCE ........................................................ 45
             CERTIFICATE OF SERVICE.................................................................. 46




                                                                iii
(5 of 134), Page 5 of 134       Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 5 of 55




                                           TABLE OF AUTHORITIES

                                                                                                         Page(s)

             Cases

             Acad. of Country Music v. Cont’l Cas. Co.,
               991 F.3d 1059 (9th Cir. 2021) .............................................................. 17

             Adams v. W. Marine Prods., Inc.,
               958 F.3d 1216 (9th Cir. 2020) .............................................................. 23

             Adkins v. VIM Recycling, Inc.,
               644 F.3d 483 (7th Cir. 2011) ................................................................ 22

             Am. Mills Co. v. Am. Sur. Co. of N.Y.,
               260 U.S. 360 (1922) .............................................................................. 38

             Atl. Marine Const. Co. v. U.S. Dist. Ct. for the W. Dist. of
                Tex.,
                571 U.S. 49 (2013) ................................................................................ 39

             Atlas Roofing Co. v. Occupational Safety & Health Rev.
                Comm'n,
                430 U.S. 442 (1977) .............................................................................. 26

             Avco Corp. v. Aero Lodge No. 735, Int’l Ass’n of Machinists &
               Aerospace Workers,
               390 U.S. 557 (1968) .............................................................................. 18

             Biden v. Texas,
               597 U.S. 785 (2022) .............................................................................. 18

             Bridewell-Sledge v. Blue Cross of Cal.,
               798 F.3d 923 (9th Cir. 2015) ................................................................ 28

             Burford v. Sun Oil Co.,
               319 U.S. 315 (1943) .............................................................................. 20

             Cates v. Allen,
               149 U.S. 451 (1893) ............................................................ 11, 24, 25, 26



                                                                iv
(6 of 134), Page 6 of 134       Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 6 of 55




             Cedar Lodge Plantation, L.L.C. v. CSHV Fairway View I,
               LLC,
               768 F.3d 425 (5th Cir. 2014) ................................................................ 28

             Chavez v. JPMorgan Chase & Co.,
               888 F.3d 413 (9th Cir. 2018) ................................................................ 17

             Colo. River Water Conservation Dist. v. United States,
               424 U.S. 800 (1976) ........................................................................ 21, 22

             Conn. Gen. Life Ins. Co. v. New Images of Beverly Hills,
               321 F.3d 878 (9th Cir. 2003) ................................................................ 38

             Corona-Contreras v. Gruel,
               857 F.3d 1025 (9th Cir. 2017) .............................................................. 14

             Dart Cherokee Basin Operating Co. v. Owens,
               574 U.S. 81 (2014) ................................................................................ 16

             Ehrman v. Cox Commc’ns, Inc.,
               932 F.3d 1223 (9th Cir. 2019) ........................................................ 13, 28

             Ellipso, Inc. v. Mann,
                480 F.3d 1153 (D.C. Cir. 2007) ............................................................ 38

             Favell v. Univ. of S. Cal.,
               No. 23-3389, 2023 WL 4680357 (C.D. Cal. July 5, 2023) ................... 25

             Great Lakes Dredge & Dock Co. v. Huffman,
               319 U.S. 293 (1943) .............................................................................. 21

             Guthrie v. Transamerica Life Ins. Co.,
               561 F. Supp. 3d 869 (N.D. Cal. 2021) .................................................... 7

             Guzman v. Polaris Industries Inc.,
               49 F.4th 1308 (9th Cir. 2022) ...................................................... passim

             Harmston v. City & Cnty. of San Francisco,
               627 F.3d 1273 (9th Cir. 2010) ................................................................ 3

             Ibarra v. Manheim Invs., Inc.,
                775 F.3d 1193 (9th Cir. 2015) .............................................................. 29

                                                                v
(7 of 134), Page 7 of 134       Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 7 of 55




             Kamm v. ITEX Corp.,
               568 F.3d 752 (9th Cir. 2009) ................................................................ 19

             La. Power & Light Co. v. City of Thibodaux,
               360 U.S. 25 (1959) ................................................................................ 20

             Leroy v. Great W. United Corp.,
               443 U.S. 173 (1979) .............................................................................. 39

             Morgan v. City & Town of Beloit,
               74 U.S. (7 Wall.) 613 (1869) ................................................................. 31

             Peridot Tree, Inc. v. City of Sacramento,
               94 F.4th 916 (9th Cir. 2024) .......................................................... 14, 15

             Prudential Home Mortg. Co. v. Superior Court,
               66 Cal. App. 4th 1236 (1998) ............................................................... 36

             Pusey & Jones Co. v. Hanssen,
               261 U.S. 491 (1923) .............................................................................. 37

             Quackenbush v. Allstate Ins. Co.,
               517 U.S. 706 (1996) ........................................................................ 20, 21

             R.R. Comm’n of Tex. v. Pullman Co.,
               312 U.S. 496 (1941) .............................................................................. 20

             Ruiz v. Snohomish Cnty. Pub. Util. Dist. No. 1,
               824 F.3d 1161 (9th Cir. 2016) .............................................................. 39

             Scott v. Neely,
               140 U.S. 106 (1891) .............................................................................. 31

             Sinochem Int’l Co. v. Malay. Int’l Shipping Corp.,
               549 U.S. 422 (2007) .............................................................................. 39

             Snapper, Inc. v. Redan,
               171 F.3d 1249 (11th Cir. 1999) ............................................................ 19

             Sonner v. Premier Nutrition Corp.,
               49 F.4th 1300 (9th Cir. 2022) .............................................................. 18



                                                               vi
(8 of 134), Page 8 of 134        Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 8 of 55




             Sonner v. Premier Nutrition Corp.,
               971 F.3d 834 (9th Cir. 2020) ........................................................ passim

             Standard Fire Insurance Co. v. Knowles,
               568 U.S. 588 (2013) ........................................................................ 30, 31

             Township of Hillsborough v. Cromwell,
               326 U.S. 620 (1946) .............................................................................. 32

             Twist v. Prairie Oil & Gas Co.,
               274 U.S. 684 (1927) ...................................................................... passim

             United States v. Bitter Root Dev. Co.,
               133 F. 274 (9th Cir. 1904) .................................................................... 33

             United Steelworkers, AFL-CIO, CLC v. Shell Oil Co.,
               602 F.3d 1087 (9th Cir. 2010) .............................................................. 16

             Winkworth v. Spectrum Brands, Inc.,
               No. 19-1011, 2019 WL 5310121 (W.D. Pa. Oct. 21, 2019) .................. 30

             Woods v. Standard Ins. Co.,
               771 F.3d 1257 (10th Cir. 2014) ............................................................ 28

             Younger v. Harris,
               401 U.S. 37 (1971) ................................................................................ 20

             Statutes

             28 U.S.C. § 1291...................................................................................... 3, 4

             28 U.S.C. § 1332.............................................................................. 3, 17, 23

             28 U.S.C. § 1441.................................................................................... 3, 17

             28 U.S.C. § 1447........................................................................ 3, 10, 17, 19

             28 U.S.C. § 1453.................................................................................... 4, 12

             Cal. Civ. Code § 1750 et seq. ............................................................. passim

             Cal. Bus. & Prof. Code § 17200 et seq. ....................................................... 6


                                                                vii
(9 of 134), Page 9 of 134      Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 9 of 55




             Cal. Bus. & Prof. Code § 17535 et seq. ....................................................... 5

             Cal. Bus. & Prof. Code § 17600 et seq. ....................................................... 5

             Other Authorities

             Restatement (Third) of Restitution and Unjust Enrichment
               § 4 Comment c (2011)........................................................................... 29

             S. Rep. No. 109-14 (2005) ................................................................... 13, 28




                                                            viii
(10 of 134), Page 10 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 10 of 55




                                            INTRODUCTION

                   Appellant The Bradford Exchange, Ltd. (“Bradford”) seeks reversal

             of the district court’s order granting Jose Ruiz’s Motion to Remand this

             action to the Superior Court of California, County of San Diego. Ruiz

             filed a putative class action lawsuit against Bradford seeking monetary

             relief but styling his claims as “equitable” while intentionally forgoing

             purportedly adequate legal claims. After Bradford removed this case to

             federal court under the Class Action Fairness Act (“CAFA”), Ruiz moved

             to remand, alleging that, because he had an adequate remedy at law—

             i.e., the legal claims he intentionally chose to forgo—the district court

             lacked “equitable jurisdiction” to grant relief. Remarkably, the district

             court accepted Ruiz’s argument and remanded based on its alleged lack

             of “equitable jurisdiction,” thereby preventing an out-of-state company

             from litigating a substantial class action in federal court.

                   The district court’s order is irreconcilable with the plain text of the

             federal removal statute, which does not recognize a federal court’s lack of

             equitable jurisdiction as one of the limited bases for remand when the

             requirements for subject-matter jurisdiction are indisputably satisfied.

             Nor does any controlling precedent permit remand on this ground. The



                                                      1
(11 of 134), Page 11 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 11 of 55




             district court had no justification for introducing a new, non-statutory

             ground for remand, particularly in light of the concerns animating CAFA

             as well as the fact that Ruiz seeks the exact same monetary relief via his

             equitable claims as he would seek under his allegedly cognizable legal

             claims.     Indeed, the district court’s remand order endorses an

             impermissible end-run around CAFA based on a distorted construction

             of equitable jurisdiction that transforms the doctrine from a shield

             defendants can raise to protect their right to a jury trial into a sword

             plaintiffs can wield to deprive out-of-state defendants of their right to a

             federal forum. This construction of equitable jurisdiction would reward

             gamesmanship and prevent federal courts from exercising jurisdiction in

             a significant swath of class action lawsuits filed in California.

                   Even assuming the district court had the authority to remand

             because of a lack of equitable jurisdiction, the district court abused its

             discretion in holding that Bradford could not waive its adequate-remedy-

             at-law defense. Controlling precedent holds to the contrary and requires

             reversal of the district court’s order.




                                                      2
(12 of 134), Page 12 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 12 of 55




                                 JURISDICTIONAL STATEMENT

                   Ruiz filed this class action in the Superior Court of California,

             County of San Diego, on August 28, 2023. ER-91–184. On September 28,

             2023, Bradford timely removed the case to U.S. District Court for the

             Southern District of California pursuant to 28 U.S.C. § 1441(a). ER-80–

             198. The district court had jurisdiction under 28 U.S.C. § 1332(d)(2)(A),

             which vests district courts with original jurisdiction over class actions in

             which the matter in controversy exceeds $5 million, any member of the

             class is a citizen of a State different from the defendant, and the class

             includes at least 100 members.

                   The district court entered an order remanding the case to state

             court on May 16, 2024. ER-3–13. Bradford filed a notice of appeal on

             May 28, 2024. ER-199–203. This Court has appellate jurisdiction under

             28 U.S.C. § 1291. Because the district court remanded for a reason other

             than lack of subject-matter jurisdiction, this appeal is not precluded by

             28 U.S.C. § 1447(d). See Harmston v. City & Cnty. of San Francisco, 627

             F.3d 1273, 1277 (9th Cir. 2010) (“[I]f a district court remands a case to




                                                      3
(13 of 134), Page 13 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 13 of 55




             state court for any reason other than lack of subject matter jurisdiction,

             its remand order is appealable under 28 U.S.C. § 1291.”).1

                                         ISSUES PRESENTED

                   1.     Whether the district court erred when it remanded this class

             action to state court, notwithstanding that the district court had subject-

             matter jurisdiction over the action under CAFA, that no established basis

             for remand or abstention applied, and that the plaintiff had artfully

             declined to seek available relief for the sole purpose of avoiding federal

             jurisdiction.

                   2.     Whether a federal court lacks the power to grant equitable

             relief if a defendant waives the defense that the plaintiff has an adequate

             remedy at law.




             1
              Out of an abundance of caution, Bradford also timely filed a petition for
             permission to appeal pursuant to 28 U.S.C. § 1453(c)(1) on May 28, 2024.
             Ruiz v. Bradford Exch., Ltd., No. 24-3372 (9th Cir.), Dkt. 1. That provi-
             sion permits courts of appeals to accept an appeal on a discretionary basis
             “from an order of a district court granting . . . a motion to remand a class
             action to the State court from which it was removed.” 28 U.S.C.
             § 1453(c)(1). This Court stayed Bradford’s petition pending resolution of
             this appeal. Ruiz v. Bradford Exch., Ltd., No. 24-3372 (9th Cir.), Dkt. 4
             (July 19, 2024).


                                                      4
(14 of 134), Page 14 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 14 of 55




                                    STATEMENT OF THE CASE

                   A.     Ruiz’s Complaint.

                   Ruiz filed this putative class action in the Superior Court of

             California, County of San Diego on August 28, 2023. ER-92 (Complaint

             (“Compl.”) ¶¶ 2–3). The complaint alleges that Bradford, which sells

             merchandise over the Internet, fails to provide sufficiently “clear and

             conspicuous” disclosures before enrolling customers in subscription

             programs that send multiple items from a collection. ER-92 (Compl. ¶ 1).

             In particular, it alleges that when Ruiz purchased a “The Nightmare

             Before Christmas Musical Glitter Globe Train” collection, he erroneously

             believed that “this was a one-time transaction” and was unaware that

             Bradford understood “he had given consent to be enrolled in a

             subscription.” ER-103–04 (Compl. ¶¶ 19, 22–23); ER-173–77 (Compl.,

             Ex. 27). The complaint seeks certification of a class of all California

             residents who were enrolled in such a subscription program beginning on

             December 1, 2010, and charged for at least one item within the

             limitations period. ER-105 (Compl. ¶ 25).

                   The complaint asserts two claims against Bradford. First, it asserts

             a claim for false advertising under California Business and Professions

             Code Sections 17535 and 17600 et seq. ER-106–07 (Compl. ¶¶ 31–34).

                                                      5
(15 of 134), Page 15 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 15 of 55




             Second, it asserts a claim for unfair competition under California

             Business and Professions Code Section 17200 et seq. ER-107–08 (Compl.

             ¶¶ 35–41).     As to each claim, the complaint seeks restitution—an

             equitable remedy. ER-108 (Compl. Prayer). The complaint does not

             allege that an adequate legal remedy—i.e., damages—is unavailable to

             Ruiz, and Ruiz later acknowledged that he has a viable claim for damages

             under other provisions of California law. ER-28; ER-72.

                   B.     Proceedings in Federal Court.

                   On September 28, 2023, Bradford timely removed the putative class

             action to the U.S. District Court for the Southern District of California.

             ER-80–198. Bradford explained that the action was within the district

             court’s original jurisdiction under CAFA, which vests federal district

             courts with subject-matter jurisdiction over certain class actions filed in

             state court. ER-81. Bradford argued that the complaint’s allegations

             supported each prerequisite for CAFA jurisdiction: the proposed class has

             100 or more members; Bradford (an Illinois corporation with its principal

             place of business in Illinois) is diverse from at least one class member

             (namely, Ruiz, who is a citizen of California); and the amount in

             controversy exceeds $5 million. ER-81–85.



                                                      6
(16 of 134), Page 16 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 16 of 55




                   Ruiz then filed a motion to remand, arguing that the district court

             lacked “federal equitable jurisdiction.” ER-61–79. He observed that his

             complaint sought only equitable relief but did not allege the

             unavailability or inadequacy of legal relief. ER-68; ER-72. He admitted

             that he “could have sought legal remedies” under the California

             Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1750 et seq.,

             “but he has not done so.” ER-72. As such, Ruiz argued that a federal

             court lacked “equitable jurisdiction” to provide the remedy he sought, as

             he contended that “a federal court may grant equitable relief only if the

             party seeking such relief establishes there is no adequate remedy at law.”

             ER-69.

                   According to Ruiz, in the absence of equitable jurisdiction, the

             district court had the option to either remand the case or dismiss it. ER-

             72–76. He argued that remand was the appropriate choice, however,

             because if the district court dismissed the case and Ruiz refiled it in state

             court, Bradford could once again remove it, triggering a “perpetual loop”

             of state-court filing, removal, and dismissal. ER-74–75 (quoting Guthrie

             v. Transamerica Life Ins. Co., 561 F. Supp. 3d 869, 880 (N.D. Cal. 2021)).




                                                      7
(17 of 134), Page 17 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 17 of 55




                   Bradford opposed the motion to remand.               ER-31–60.     Bradford

             emphasized that the alleged defect identified by Ruiz—a lack of

             “equitable jurisdiction”—had nothing to do with the district court’s

             subject-matter jurisdiction and thus did not render Bradford’s removal

             improper. ER-45–52. Nor was there any other basis for remand: no

             established non-jurisdictional reason for remand applied, and Bradford

             pointed out that the few district-court cases that had remanded under

             similar circumstances had improperly created a new category of

             abstention. ER-50–54.

                   Bradford also argued that fairness principles and the policy

             underlying CAFA required the district court to deny the remand motion.

             ER-54–57. It noted that despite CAFA’s clear preference for federal

             litigation of interstate class actions, Ruiz’s position would provide a

             roadmap for plaintiffs to thwart that policy and deny defendants a federal

             forum. ER-55–56. And as for Ruiz’s concern about a “perpetual loop,”

             Bradford observed that this problem was entirely of Ruiz’s own making,

             and was entirely within his power to resolve. ER-54–57. Bradford also

             offered to waive its adequate-remedy-at-law defense if the district court




                                                      8
(18 of 134), Page 18 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 18 of 55




             believed such waiver was necessary to restore equitable jurisdiction. ER-

             59–60.

                   In reply, Ruiz conceded that the alleged equitable-jurisdiction

             defect did not deprive the district court of subject-matter jurisdiction.

             ER-20–21. He contended, however, that under this Court’s precedent,

             the court was powerless to proceed in the absence of equitable

             jurisdiction, and remand was therefore required. ER-21–26. Ruiz did

             not deny that he had pleaded strategically to defeat federal jurisdiction,

             instead shrugging off Bradford’s concerns about Ruiz’s gamesmanship.

             ER-27.

                   The district court granted Ruiz’s motion and ordered the case

             remanded to state court. ER-3–13. The district court first concluded that

             it lacked equitable jurisdiction because Ruiz did not allege that he lacked

             an adequate remedy at law. ER-5–7. The court observed that Ruiz had

             in fact “concede[d] that he could have sought a damages award pursuant

             to the [CLRA] in lieu of restitution.” ER-6. But it appears that the court

             understood itself to be without power to issue an equitable remedy—the

             sole remedy available under the causes of action Ruiz asserted—if an

             adequate remedy at law was available. ER-6–7.



                                                      9
(19 of 134), Page 19 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 19 of 55




                   After concluding that it lacked equitable jurisdiction, the district

             court considered “whether the Court may remand the case on this basis.”

             ER-7. The court acknowledged that “remand is not permitted under 28

             U.S.C. § 1447(c),” which allows remand only if the district court lacks

             subject-matter jurisdiction or if there is a defect in the removal

             procedure. Id. The court agreed with Bradford—and Ruiz’s concession—

             that it had subject-matter jurisdiction under CAFA, and the court

             observed that Ruiz had not identified any other defect in the removal. Id.

                   The district court then asserted that in addition to the statutory

             grounds for remand, there was also a “long-recognized authority to

             remand cases based on federal abstention doctrines.” ER-8. Invoking

             language in this Court’s opinion in Guzman v. Polaris Industries Inc., 49

             F.4th 1308 (9th Cir. 2022), that analogized dismissals for lack of

             equitable jurisdiction to dismissals under abstention doctrines or forum

             non conveniens, the court understood there to be a “similarity between

             abstention principles and equitable jurisdiction.” ER-8; see Guzman, 49

             F.4th at 1314. And the court also noted two older Supreme Court cases

             that it believed had “recognized that remand is appropriate if a removed

             suit seeks relief that is ‘beyond the equitable jurisdiction of the federal



                                                     10
(20 of 134), Page 20 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 20 of 55




             court’ but ‘may be granted by the state court.’” ER-7–8 (quoting Twist v.

             Prairie Oil & Gas Co., 274 U.S. 684, 690 (1927)); ER-8 (citing Cates v.

             Allen, 149 U.S. 451, 457, 460–61 (1893)).

                   In concluding that it had the authority to remand under the

             circumstances, the district court cited four other district courts in

             California that had taken the same approach upon concluding that they

             lacked equitable jurisdiction. ER-9–10. And in explaining why it was

             exercising its purported power to remand, the court observed that

             dismissing the case “could place [it] in the ‘perpetual loop’” of re-filing in

             state court, followed by removal, followed by dismissal. ER-12. Though

             the court acknowledged that this “loop” would result from Ruiz’s own

             strategic decisions, the court believed that Ruiz, “as the master of his

             complaint,” was permitted to assert or forgo whatever claims he wished.

             Id.

                   In a footnote, the district court rejected Bradford’s claim that it

             should be permitted to waive its adequate-remedy-at-law defense and

             thereby restore the court’s equitable jurisdiction. ER-12 n.2. The court

             stated that “[t]his argument is unavailing in light of Guzman, which held




                                                     11
(21 of 134), Page 21 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 21 of 55




             that the district court erred in granting summary judgment when it

             lacked equitable jurisdiction.” Id. (citing Guzman, 49 F.4th at 1315).

                   C.     Proceedings in This Court.

                   Bradford timely filed a notice of appeal. ER-199–203. Out of an

             abundance of caution, Bradford also filed a petition for permission to

             appeal pursuant to a provision of CAFA that permits discretionary

             appellate review of remand orders. See Ruiz v. Bradford Exch., Ltd., No.

             24-3372, Dkt. 1 (May 28, 2024); 28 U.S.C. § 1453(c)(1).

                                 SUMMARY OF THE ARGUMENT

                   This Court should reverse the district court’s order remanding this

             case to the Superior Court of California, County of San Diego for the

             following reasons:

                   1.     An alleged lack of “equitable jurisdiction” does not provide a

             basis for remand in these circumstances. The case was properly removed

             under CAFA. There is no question that the district court has subject-

             matter jurisdiction under CAFA, and the district court confirmed as

             much. The district court also did not find that there was any defect in

             the removal. No controlling authority has recognized lack of equitable

             jurisdiction in these circumstances as a proper basis for remand.




                                                     12
(22 of 134), Page 22 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 22 of 55




                   And to the extent district courts possess the power to develop new

             abstention-adjacent doctrines untethered from decades of Supreme Court

             precedent, there are no justifications for doing so here. To the contrary,

             permitting remand here undermines Congress’s intent in enacting

             CAFA—i.e., “to strongly favor the exercise of federal diversity jurisdiction

             over class actions with interstate ramifications.”               Ehrman v. Cox

             Commc’ns, Inc., 932 F.3d 1223, 1226 (9th Cir. 2019) (quoting S. Rep. No.

             109-14, at 35 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 34). Further,

             expanding abstention principles to permit remand in situations like

             this—i.e., where a plaintiff chooses to only bring “equitable” claims while

             forgoing allegedly viable legal claims (and seeks the same relief under

             the equitable claims that he would seek under the legal claims)—does not

             align with the purposes underlying the adequate-remedy-at-law doctrine,

             which is intended as a shield to preserve a defendant’s right to a jury trial

             as opposed to a sword that plaintiffs can wield to avoid federal court.

             Thus, if a plaintiff has a viable legal claim, which Ruiz claims he does, he

             must bring that claim.

                   2.     Even if remand could be permitted based on lack of equitable

             jurisdiction, the district court abused its discretion in remanding the case



                                                     13
(23 of 134), Page 23 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 23 of 55




             because Bradford expressed its willingness to waive the adequate-

             remedy-at-law defense. Controlling authority holds that defendants can

             waive both objections to equitable jurisdiction as a general matter and

             the adequate-remedy-at-law defense more specifically such that federal

             courts can consider equitable claims even where an adequate remedy at

             law may be available. Because the adequate-remedy-at-law defense can

             be waived, and Bradford indicated its intent to waive the defense, even if

             remand could be permitted for lack of equitable jurisdiction, the district

             court erred in remanding this case due to such waiver.

                                       STANDARD OF REVIEW

                   The grant of a remand order is typically reviewed de novo. See

             Corona-Contreras v. Gruel, 857 F.3d 1025, 1028 (9th Cir. 2017) (“We

             review de novo a district court’s decision to remand a removed case . . . .”).

             Here, the remand order was based on the district court’s decision to

             recognize a newly invented doctrine akin to abstention. Thus, to the

             extent the Court views the remand order through the lens of abstention,

             the Court should apply a “modified abuse of discretion standard” in which

             the Court “first determine[s], de novo, whether the requirements of

             abstention are satisfied.” Peridot Tree, Inc. v. City of Sacramento, 94



                                                     14
(24 of 134), Page 24 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 24 of 55




             F.4th 916, 924–25 (9th Cir. 2024) (quotation marks omitted). “If those

             requirements are not met, the district court has little or no discretion to

             abstain.” Id. (quotation marks omitted). “But if they are met,” then the

             Court “review[s] the decision to abstain for abuse of discretion.” Id.

                                               ARGUMENT

                   The district court erred in remanding this case to state court. The

             district court remanded based on its conclusion that it lacked “equitable

             jurisdiction,” thereby effectively abstaining from deciding the case. But

             the district court lacked the power to remand based on a heretofore

             unrecognized, non-statutory abstention-like doctrine.

                   Even assuming a district court could recognize new non-statutory

             abstention grounds, abstention is not appropriate in these circumstances

             because it undermines the purpose of the adequate-remedy-at-law

             defense as well as state and federal policy. Finally, to the extent the

             Court finds that a district court can remand for lack of equitable

             jurisdiction, the district court abused its discretion in doing so here

             because it should have permitted Bradford to waive its no-adequate-

             remedy-at-law defense rather than forcing Bradford to litigate this case

             in state court despite CAFA’s statutory guarantee of a federal forum.



                                                     15
(25 of 134), Page 25 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 25 of 55




             I.    The District Court Erred in Remanding Due to a Lack of
                   Equitable Jurisdiction.

                   The district court had subject-matter jurisdiction over this case,

             and no traditional abstention doctrine applied. The district court should

             therefore have exercised subject-matter jurisdiction. Instead, the court

             erred in remanding based on a non-statutory, newly invented doctrine

             that it likened to abstention.

                   A.     A District Court Is Not Permitted to Remand a Case for
                          Lack of Equitable Jurisdiction.

                   The district court erred in remanding to state court based on the

             purported lack of “equitable jurisdiction.”          When, as here, a case is

             removed to federal district court under CAFA, the presumption is that it

             “stays removed.” United Steelworkers, AFL-CIO, CLC v. Shell Oil Co.,

             602 F.3d 1087, 1091 (9th Cir. 2010); see Dart Cherokee Basin Operating

             Co. v. Owens, 574 U.S. 81, 89 (2014) (“[N]o antiremoval presumption

             attends cases invoking CAFA, which Congress enacted to facilitate

             adjudication of certain class actions in federal court.”).               Although

             Congress and the Supreme Court have enumerated specific grounds for

             remanding class actions removed under CAFA back to state court, lack

             of equitable jurisdiction is not on the list.




                                                     16
(26 of 134), Page 26 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 26 of 55




                          1.    No statutory basis for remand exists.

                   Under 28 U.S.C. § 1447(c), remand is available—whether in a case

             removed under CAFA or otherwise—only if the Court lacks subject-

             matter jurisdiction or there is some “defect” in removal. See Acad. of

             Country Music v. Cont’l Cas. Co., 991 F.3d 1059, 1067 (9th Cir. 2021)

             (noting that the two “grounds in § 1447(c)” are “subject matter

             jurisdiction [or] nonjurisdictional defects”). Neither basis for remand

             applies here.

                   First, the district court could not, and did not, remand based on a

             lack of subject-matter jurisdiction. A defendant has the right to remove

             a case from state court to federal court if the case is within the district

             court’s original jurisdiction.        See 28 U.S.C. § 1441(a); Chavez v.

             JPMorgan Chase & Co., 888 F.3d 413, 415 (9th Cir. 2018) (“A defendant

             generally may remove an action filed in state court if a federal district

             court would have had original jurisdiction over the action.”). Under

             CAFA, this state-law class action is such a case: there are at least 100

             members in the class, there is minimal diversity, and the amount in

             controversy exceeds $5 million.         See 28 U.S.C. § 1332(d)(2)(A).   The

             parties, as well as the district court, have accordingly all agreed that the



                                                     17
(27 of 134), Page 27 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 27 of 55




             district court had subject-matter jurisdiction to adjudicate this dispute.

             ER-7; ER-21; ER-44.

                   Rather, the district court concluded that it lacked equitable

             jurisdiction, a notion that, as all agree, “is distinct from subject matter

             jurisdiction.” Guzman, 49 F.4th at 1314. Here, Ruiz—to avoid litigating

             his claims in federal court—intentionally forwent a purportedly adequate

             damages claim. But Ruiz’s pleading tactic does not deprive the court of

             subject-matter jurisdiction and thus does not bear on the propriety of the

             removal from state court. See Biden v. Texas, 597 U.S. 785, 801 (2022)

             (“[T]he question whether a court has jurisdiction to grant a particular

             remedy is different from the question whether it has subject matter

             jurisdiction over a particular class of claims.”); Avco Corp. v. Aero Lodge

             No. 735, Int’l Ass’n of Machinists & Aerospace Workers, 390 U.S. 557, 561

             (1968) (“The nature of the relief available after jurisdiction attaches is, of

             course, different from the question whether there is jurisdiction to

             adjudicate the controversy.”); Sonner v. Premier Nutrition Corp., 49 F.4th

             1300, 1303 (9th Cir. 2022) (“Sonner II”) (a plaintiff’s “failure to plead an

             inadequate remedy at law” does not “deprive[] the district court of

             jurisdiction over her complaint”).



                                                     18
(28 of 134), Page 28 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 28 of 55




                   Second, this case also does not involve some other Section 1447(c)

             “defect,” which this Court has defined narrowly as “a failure to comply

             with the statutory requirements for removal.” Kamm v. ITEX Corp., 568

             F.3d 752, 755 (9th Cir. 2009). Hence, as all parties agree, nothing in

             § 1447(c) authorized the district court to remand.

                          2.    No non-statutory basis for remand exists.

                   In addition to the bases set forth in Section 1447(c), courts have

             recognized three additional limited, nontextual bases for remanding a

             case to state court pursuant to a federal court’s “inherent authority”: (1)

             if the case involves a forum-selection clause; (2) if the case implicates one

             of the delineated abstention doctrines; or (3) if the court declines to

             exercise supplemental jurisdiction over state-law claims in a federal-

             question case. Snapper, Inc. v. Redan, 171 F.3d 1249, 1253–60 (11th Cir.

             1999); see Kamm, 568 F.3d at 756. The first and third of these bases are

             plainly inapplicable in this case, which does not involve a forum-selection

             clause and which implicates diversity jurisdiction under CAFA. That

             leaves abstention. But the Supreme Court has identified just a few

             narrow abstention doctrines, none of which apply here.




                                                     19
(29 of 134), Page 29 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 29 of 55




                   First, under the Younger abstention doctrine, federal courts “have

             the power to refrain from hearing cases that would interfere with a

             pending state criminal proceeding” or “certain types of state civil

             proceedings.” Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716 (1996)

             (citing, inter alia, Younger v. Harris, 401 U.S. 37 (1971)).             Second,

             Pullman abstention permits federal courts to abstain from hearing “cases

             in which the resolution of a federal constitutional question might be

             obviated if the state courts were given the opportunity to interpret

             ambiguous state law.” Id. at 716–17 (citing R.R. Comm’n of Tex. v.

             Pullman Co., 312 U.S. 496 (1941)). Third, the closely related Burford and

             Thibodaux abstention doctrines apply in cases implicating difficult

             questions regarding, or disruptions to, important state policy or

             sovereign prerogatives. See id. at 717, 724–25 (citing, inter alia, Burford

             v. Sun Oil Co., 319 U.S. 315 (1943); and La. Power & Light Co. v. City of

             Thibodaux, 360 U.S. 25 (1959)). Fourth, abstention is permissible under

             the Colorado River abstention doctrine in “cases which are duplicative of”




                                                     20
(30 of 134), Page 30 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 30 of 55




             ongoing state litigation. Id. at 717 (citing, inter alia, Colo. River Water

             Conservation Dist. v. United States, 424 U.S. 800 (1976)).2

                   None of the established abstention doctrines apply here. There is

             no pending state proceeding with which this case interferes. There are

             no constitutional challenges to state law. No important state policy

             concerns or sovereign prerogatives are implicated. In fact, Ruiz is fully

             able to vindicate his rights—and those of the putative class—under

             California law and obtain all the relief he seeks, so long as he is willing

             to assert all the claims that law makes available to him. There is simply

             no state interest threatened by litigating this dispute in federal court,

             and thus absolutely no basis for abstention.

                          3.    The district court erred in remanding based on a newly
                                invented doctrine that it likened to abstention.

                   The district court elected to remand, but it did not conclude, and

             could not have concluded, that any recognized abstention doctrine

             applied. Instead, the district court invented a new abstention-adjacent



             2
               An additional, narrower doctrine permits federal courts to abstain in
             “cases whose resolution by a federal court might unnecessarily interfere
             with a state system for the collection of taxes.” Quackenbush, 517 U.S.
             at 717 (citing Great Lakes Dredge & Dock Co. v. Huffman, 319 U.S. 293
             (1943)).


                                                     21
(31 of 134), Page 31 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 31 of 55




             doctrine and remanded based on that heretofore unrecognized doctrine.

             That was error.

                   First, in developing its abstention doctrines, the Supreme Court has

             made clear that lower courts are not at liberty to fashion new reasons to

             abstain. Rather, as “the exception, not the rule,” abstention is justified

             “only in the exceptional circumstances where the order to the parties to

             repair to the state court would clearly serve an important countervailing

             interest.” Colo. River, 424 U.S. at 813. Those exceptional circumstances

             are the ones the Supreme Court has identified. In the absence of an

             established doctrine to support abstention, abstention is unavailable.

             See Adkins v. VIM Recycling, Inc., 644 F.3d 483, 497 (7th Cir. 2011)

             (reversing district court’s decision to abstain and emphasizing that the

             “[u]se of a judge-made abstention doctrine to refuse to hear” a case over

             which the court had original jurisdiction constitutes “an end-run around

             congressional will”).

                   What is more, CAFA itself carefully delineates several scenarios in

             which district courts are either required or permitted to abstain. Under

             the “local controversy exception,” a district court must “decline to exercise

             jurisdiction when more than two-thirds of the putative class members are



                                                     22
(32 of 134), Page 32 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 32 of 55




             citizens of the state where the action was filed, the principal injuries

             occurred in that same state, and at least one significant defendant is a

             citizen of that state.” Adams v. W. Marine Prods., Inc., 958 F.3d 1216,

             1220 (9th Cir. 2020) (citing 28 U.S.C. § 1332(d)(4)(A)). Under one version

             of the “home state exception,” a district court must “decline to exercise

             jurisdiction where ‘two-thirds or more of the members of all proposed

             plaintiff classes in the aggregate, and the primary defendants, are

             citizens of the State in which the action was originally filed.’” Id. (quoting

             28 U.S.C. § 1332(d)(4)(B)). Under the other, a district court “‘may, in the

             interests of justice and looking at the totality of the circumstances,

             decline to exercise jurisdiction’ when more than one-third of the putative

             class, and the primary defendants, are citizens of the state where the

             action was originally filed.” Id. (emphasis omitted) (quoting 28 U.S.C.

             § 1332(d)(3)). That CAFA provides limited off-ramps for the exercise of

             federal jurisdiction (none of which apply here) is a strong indicator that

             district courts hearing removed CAFA cases are not at liberty to remand

             on the basis of atextual and novel abstention doctrines.

                   The district court believed that its expansion of abstention

             principles was authorized by this Court’s decision in Guzman, 49 F.4th



                                                     23
(33 of 134), Page 33 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 33 of 55




             1308, and by the Supreme Court’s decisions in Twist, 274 U.S. 684, and

             Cates, 149 U.S. 451. But none of these cases support the district court’s

             approach.

                   As an initial matter, the Guzman Court did not opine on the

             propriety of remand or abstention. Rather, the Guzman Court reviewed

             a district court’s decision to grant summary judgment for the defendant

             on the plaintiff’s UCL claim (a purely equitable claim) based on the

             court’s lack of equitable jurisdiction. 49 F.4th at 1310. The Guzman

             Court held that the district court properly found it lacked equitable

             jurisdiction since the plaintiff had an adequate remedy at law in the form

             of a CLRA claim. Id. at 1313. However, the Court found that the district

             court should have dismissed the UCL claim without prejudice rather

             than granting summary judgment for the defendant because the district

             court “lacked equitable jurisdiction to hear” the UCL claim. Id. While

             Guzman analogized a federal court’s dismissal for lack of equitable

             jurisdiction to declining jurisdiction “under abstention principles,” it did

             so only in the sense that “a federal court that dismisses a claim for lack

             of equitable jurisdiction”—like a court that refuses to hear a case “under




                                                     24
(34 of 134), Page 34 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 34 of 55




             abstention principles”—“necessarily declines to assume the jurisdiction

             and decide the cause.” Id. at 1314 (internal quotation marks omitted).3

                   At most, therefore, Guzman stands for the proposition that if

             Bradford had moved to dismiss Ruiz’s claim for lack of equitable

             jurisdiction, then the district court should have dismissed without

             prejudice.    Here, however, the district court granted a motion by a

             different party (the plaintiff rather than the defendant), seeking different

             relief (remand to state court rather than dismissal).4 Nothing in Guzman

             supports granting such relief.

                   Twist and Cates also provide no justification for recognizing lack of

             equitable jurisdiction as a basis for remand. As an initial matter, those

             cases “predate the merger of courts of law and equity” and thus have no

             application to the current legal landscape. See Favell v. Univ. of S. Cal.,

             No. 23-3389, 2023 WL 4680357, at *2 (C.D. Cal. July 5, 2023) (rejecting



             3 The Guzman Court also analogized dismissal for lack of equitable ju-
             risdiction to a court’s declination to exercise jurisdiction under “the doc-
             trine of forum non conveniens.” 49 F.4th at 1314. As discussed below,
             forum non conveniens is not a bar to the exercise of a court’s jurisdiction
             where, as here, the defect is waived. See pp. 38–40, infra.
             4 Bradford did not and does not intend to seek dismissal based on lack of

             equitable jurisdiction, and indeed has offered to waive its adequate-rem-
             edy-at-law defense. See pp. 36–42, infra.


                                                     25
(35 of 134), Page 35 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 35 of 55




             application of Cates and Twist for this reason); Atlas Roofing Co. v.

             Occupational Safety & Health Rev. Comm’n, 430 U.S. 442, 459 (1977)

             (recognizing that “the 1938 Federal Rules of Civil Procedure merg[ed] the

             law and equity functions of the federal courts”). Cates also does not

             support remand here because it treated equitable jurisdiction as

             equivalent to “jurisdiction based upon the subject-matter of the

             litigation” and found that the action was thus “improperly removed”

             under the 1875 removal statute given the lack of equitable jurisdiction.

             149 U.S. at 460. Here, there is no dispute that the case was properly

             removed under CAFA.           And in the 130-plus years since Cates was

             decided, during which time the courts of law and equity merged, courts

             (including this Court) have clarified that “[e]quitable jurisdiction is

             distinct from subject matter jurisdiction.” Guzman, 49 F.4th at 1314.

             Twist is also inapposite as it did not rule on remand; rather, it simply

             cited Cates in dicta.5 See 274 U.S. at 689–90.

                   Thus, neither Cates nor Twist supports remand under these

             circumstances. And, tellingly, Cates and Twist were decided in 1893 and



             5 Twist also made clear that a party can “waive[] the objection of lack of

             equity jurisdiction.” 274 U.S. at 691; see p. 37, infra.


                                                     26
(36 of 134), Page 36 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 36 of 55




             1927 respectively, and there is no more recent controlling case that

             provides even glancing support to the district court’s novel remand

             decision. In sum, the district court lacked authority to remand.

                   B.     Even If a District Court Can Recognize New Grounds
                          for Abstention, No Basis Exists for Doing So Here.

                   Even assuming district courts possess the power to develop new

             abstention doctrines untethered from decades of Supreme Court

             precedent, there are no justifications for doing so here based on the

             plaintiff’s tactical decision to forgo an allegedly adequate remedy at law

             solely to avoid a federal forum.         In these circumstances, the lack of

             equitable jurisdiction does not threaten any state interests and does not

             prejudice Ruiz in any way. The only interest threatened is the one

             Congress sought to promote in CAFA: the view that interstate class

             actions should be litigated in federal court.

                   Moreover, expanding abstention principles to include equitable

             jurisdiction would also be antithetical to the purpose underlying the

             adequate-remedy-at-law doctrine, which has been recognized as a shield

             intended to preserve a defendant’s right to a jury trial as opposed to a

             sword that plaintiffs can wield to avoid federal court.




                                                     27
(37 of 134), Page 37 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 37 of 55




                          1.    Recognizing abstention here undermines CAFA.

                   Permitting remand here undermines Congress’s intent in enacting

             CAFA—i.e., “to strongly favor the exercise of federal diversity jurisdiction

             over class actions with interstate ramifications.” Ehrman, 932 F.3d at

             1226 (quoting S. Rep. No. 109-14, at 35). CAFA confers jurisdiction on

             federal courts to provide “a neutral forum for parties from different

             States.”    Id. (internal quotation marks omitted).             “[T]he language,

             structure, and history of CAFA all demonstrate that Congress

             contemplated broad federal court jurisdiction,” Cedar Lodge Plantation,

             L.L.C. v. CSHV Fairway View I, LLC, 768 F.3d 425, 429 (5th Cir. 2014)

             (internal quotation marks omitted), with only “‘narrow exception[s] that

             [were] carefully drafted’” to ensure they do not become “‘jurisdictional

             loophole[s],’” Bridewell-Sledge v. Blue Cross of Cal., 798 F.3d 923, 928

             (9th Cir. 2015) (quoting S. Rep. No. 109-14, at 39).

                   Indeed, “CAFA was enacted to respond to perceived abusive

             practices by plaintiffs and their attorneys in litigating major class actions

             with interstate features in state courts.” Woods v. Standard Ins. Co., 771

             F.3d 1257, 1262 (10th Cir. 2014) (citation omitted). Thus, “Congress

             designed the terms of CAFA specifically to permit a defendant to remove



                                                     28
(38 of 134), Page 38 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 38 of 55




             certain class . . . actions into federal court” and “intended CAFA to be

             interpreted expansively.” Ibarra v. Manheim Invs., Inc., 775 F.3d 1193,

             1197 (9th Cir. 2015).

                   Under the district court’s approach, however, a litigant can evade

             Congress’s efforts by asserting claims that seek only equitable relief, even

             if nearly identical claims seeking legal relief are available. Indeed, a

             plaintiff could stay in state court by simply re-labeling a request for

             damages—the quintessential form of monetary relief—as a demand for

             “restitution” or “disgorgement.” See Restatement (Third) of Restitution

             and Unjust Enrichment § 4 cmt. c (2011) (“[T]he question whether

             restitution is legal or equitable is essentially artificial.”); see also Sonner

             v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020) (“Sonner I”)

             (noting that the plaintiff was seeking the “same amount of money for the

             exact same harm” through an equitable claim under the UCL and a legal

             claim under the CLRA). And because the California consumer-protection

             statutes under which Ruiz asserts claims only authorize equitable relief,

             the district court’s approach would trap many (if not most) interstate

             class actions filed in California in the state courts. That cannot possibly

             be what Congress intended when it enacted CAFA.



                                                     29
(39 of 134), Page 39 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 39 of 55




                   Indeed, the Supreme Court expressly rejected a similar tactic

             designed to avoid removal under CAFA in Standard Fire Insurance Co.

             v. Knowles, 568 U.S. 588, 596 (2013), holding that a named plaintiff

             cannot limit the putative class’s recovery to less than $5 million to avoid

             removal to federal court. As the Court explained, an individual plaintiff

             can avoid removal “by stipulating to amounts at issue that fall below the

             federal jurisdictional requirement.” Id. at 595. But because a named

             plaintiff “cannot yet bind the absent class” to limit its recovery, a putative

             class representative cannot avoid removal by agreeing to recover less

             than $5 million on behalf of the class. Id. at 596.

                   That reasoning applies with equal force here. If the putative class

             members Ruiz purports to represent have a legal claim against Bradford,

             and if that legal claim provides for an adequate remedy (which must be

             the case for a federal court to lack “equitable jurisdiction”), Ruiz cannot

             forgo that claim and thereby deprive the putative class of the possibility

             of prevailing on that claim to avoid removal. See Winkworth v. Spectrum

             Brands, Inc., No. 19-1011, 2019 WL 5310121, at *3 (W.D. Pa. Oct. 21,

             2019) (“[A]s representatives of the putative Nationwide Class, it is

             Plaintiffs’ fiduciary duty not to throw away what could be a major



                                                     30
(40 of 134), Page 40 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 40 of 55




             component of the class’s recovery.”) (quoting Knowles, 568 U.S. at 594).

             Even if Ruiz could forgo his own right to pursue adequate legal remedies,

             he has no right to do so on behalf of a class.

                          2.    Recognizing abstention here undermines the purpose of
                                the adequate-remedy-at-law doctrine.

                   Further, expanding abstention principles to permit remand in

             situations where a plaintiff chooses to only bring “equitable” claims while

             forgoing allegedly viable legal claims (and seeks the same relief under

             the equitable claims that he would seek under the legal claims) does not

             align with the purposes underlying the adequate-remedy-at-law doctrine.

             Most significantly, the doctrine has been recognized as a shield intended

             to preserve a defendant’s right to a jury trial as opposed to a sword that

             plaintiffs can wield to avoid federal court. As this Court stated in Sonner

             I, where “a court of law is competent to render a judgment affording a

             plain, adequate, and complete remedy, the party aggrieved must seek his

             remedy in such court . . . because the defendant has a constitutional right

             to a trial by jury.” 971 F.3d at 842 (quoting Scott v. Neely, 140 U.S. 106,

             110 (1891)); see also Morgan v. City & Town of Beloit, 74 U.S. (7 Wall.)

             613, 618 (1869) (noting that when the remedy at law is “as plain,

             adequate, and complete, and as practical and efficient to the ends of


                                                     31
(41 of 134), Page 41 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 41 of 55




             justice, and to its prompt administration, as the remedy in equity,” “the

             party seeking redress must pursue it” because “[i]n such cases the

             adverse party has a constitutional right to a trial by jury”) (citations and

             internal quotation marks omitted).

                   The specter of the so-called “perpetual loop” that animated the

             district court’s decision to remand—in which a plaintiff’s equitable claims

             are removed to federal court, dismissed due to lack of equitable

             jurisdiction, and refiled in state court only for the cycle to start again—

             does not alter this analysis. This Court recognized in Sonner I and

             Guzman that plaintiffs must seek available legal remedies before

             recovering in equity.       As articulated in Sonner I, a plaintiff “must

             establish that she lacks an adequate remedy at law before securing

             equitable restitution for past harm.” 971 F.3d at 844. And consistent

             with that, this Court in Guzman found that the plaintiff “cannot have

             neglected his opportunity to pursue his CLRA damages claim, which was

             an adequate remedy at law, and then be rewarded for that neglect with

             the opportunity to pursue his equitable UCL claim in federal court.” 49

             F.4th at 1312; see also, e.g., Township of Hillsborough v. Cromwell, 326

             U.S. 620, 622 (1946) (“Where the remedy at law is ‘plain, adequate, and



                                                     32
(42 of 134), Page 42 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 42 of 55




             complete’, it is the one which must be pursued . . . .”); United States v.

             Bitter Root Dev. Co., 133 F. 274, 278 (9th Cir. 1904), (“If the remedy at

             law is ‘as practical and efficient to the ends of justice and its prompt

             administration as the remedy in equity,’ it must be pursued.”), aff’d, 200

             U.S. 451 (1906).

                   Given that Ruiz claims to have an adequate legal remedy here,

             Ruiz’s “perpetual loop” could arise only because of his voluntary decision

             to pursue useless equitable claims for the sole purpose of forum-shopping.

             To the extent Ruiz finds himself in the “perpetual loop,” he can free

             himself at any time by asserting his allegedly viable legal claims.6 Such

             a solution would accord with Congress’s intent to provide the right to a

             federal forum here.

                          3.    Recognizing abstention here does not vindicate any
                                state policy.

                   Nor does abstention here vindicate any state policy. At its core,

             abstention is about staying the exercise of federal jurisdiction in order to

             respect an important state interest—the execution of state law, state




             6 As discussed below, Bradford does not intend to move to dismiss for lack

             of equitable jurisdiction. See p. 41, infra. However, remand is improper
             regardless of what dispositive motion Bradford chooses to file.


                                                     33
(43 of 134), Page 43 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 43 of 55




             legal or administrative proceedings, or the effectuation of state policy.

             Nothing like that is at stake here: only a single plaintiff’s desire to seek

             relief in state court, rather than federal court. Such a desire, standing

             alone, has never been recognized as adequate to justify abstention;

             indeed, CAFA (and the concept of removal generally) exists specifically

             to give defendants a veto over the plaintiff’s choice of a state forum in

             certain cases.

                   This is not a case, for instance, in which a plaintiff has available to

             him only a state-law claim providing a sole remedy that is unavailable in

             federal court, such that dismissing a case upon removal for lack of

             equitable jurisdiction would prevent the plaintiff from ever getting the

             relief due him under state law. To the contrary: Ruiz concededly has a

             state-law claim available to him that, if successful, would put him in the

             same position he would occupy were he to get the equitable relief he

             seeks. The only prejudice he would suffer from a dismissal, therefore, is

             that he would have to assert that claim and litigate it in federal court:

             the forum in which Congress clearly desires him to litigate his claims.

                   The district court’s decision to abstain and remand is unjustified for

             a further related reason: the court relied on the dubious assertion—



                                                     34
(44 of 134), Page 44 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 44 of 55




             unjustified by any analysis—that Ruiz would in fact be able to obtain

             equitable relief in California state court.

                   The district court interpreted Supreme Court precedent to

             “recognize[] that remand is appropriate if a removed suit seeks relief that

             is ‘beyond the equitable jurisdiction of the federal court’ but ‘may be

             granted by the state court.’” ER-7–8 (emphasis added) (quoting Twist,

             274 U.S. at 690).       As discussed above, Twist does not support this

             proposition.      But even accepting the district court’s erroneous

             characterization of Twist, it would only support remand if the equitable

             relief Ruiz seeks is available in state court. The district court asserted

             that it would be, but it cited no California authority to support the

             assertion. See ER-5 (“In contrast with California state courts, federal

             courts sitting in diversity can only award equitable relief under state law

             if there is no adequate legal remedy.”).

                   The district court was wrong to blithely make this conclusion about

             the equitable powers of California state courts. This precise question was

             the subject of the appeal in Sonner I, in which this Court declined to

             decide “whether California authorizes its courts to award equitable

             restitution under the UCL and CLRA when a plain, adequate, and



                                                     35
(45 of 134), Page 45 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 45 of 55




             complete remedy exists at law.” 971 F.3d at 845. California case law,

             however, suggests that its courts apply the same adequate-remedy-at-

             law doctrine as federal courts. See, e.g., Prudential Home Mortg. Co. v.

             Superior Court, 66 Cal. App. 4th 1236, 1250 (1998), as modified on denial

             of reh’g (Oct. 29, 1998) (holding that the plaintiff’s claim for equitable

             relief under the UCL could not proceed because there were statutory

             remedies available, and courts “must assume the statutory remedies are

             adequate, thus precluding equitable relief under the [UCL]”).            This

             further undermines the district court’s conclusion.

                   In short, it is impossible to justify abstention and remand under the

             circumstances here. The federal court’s lack of equitable jurisdiction

             results from a ruse by Ruiz to circumvent CAFA and litigate claims in

             state court that Congress decided should be litigated in federal court.

             Granting him this illicit windfall does nothing to promote equitable

             principles, federalism interests, or fundamental fairness. His gambit

             should be roundly rejected.

             II.   The District Court Erred in Disregarding Bradford’s Waiver
                   of Its Equitable Defense.

                   In opposing Ruiz’s motion to remand, Bradford argued in the

             alternative that if the district court believed remand to be an option due


                                                     36
(46 of 134), Page 46 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 46 of 55




             to lack of equitable jurisdiction, it should give Bradford an opportunity

             to waive its adequate-remedy-at-law defense.             ER-59–60.       The court

             rejected that proffer, believing that Guzman forecloses the grant of

             equitable relief in the absence of an adequate remedy at law, even if the

             defendant waives any objection. ER-12 n.2. This conclusion is incorrect.

             The adequate-remedy-at-law obstacle to equitable relief is a defense that

             the defendant may waive; doing so empowers the court to grant

             otherwise-unavailable equitable relief. And Guzman did not hold, or

             even remotely suggest, anything to the contrary.

                   The District Court’s conclusion is inconsistent with a mountain of

             authority holding that defendants can waive both objections to equitable

             jurisdiction as a general matter and the adequate-remedy-at-law defense

             more specifically. There are innumerable cases in which courts have

             considered equitable claims even where an adequate remedy at law may

             have been available. Twist itself held that a defendant can “waive[] the

             objection of lack of equity jurisdiction,” 274 U.S. at 691, as did other

             contemporary cases. See, e.g., Pusey & Jones Co. v. Hanssen, 261 U.S.

             491, 500 (1923) (“[U]nlike lack of jurisdiction as a federal court, . . . lack

             of equity jurisdiction (if not objected to by a defendant) may be ignored



                                                     37
(47 of 134), Page 47 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 47 of 55




             by the court, in cases where the subject-matter of the suit is of a class of

             which a court of equity has jurisdiction. And where the defendant has

             expressly consented to action by the court, or has failed to object

             seasonably, the objection will be treated as waived.”).                  Indeed, the

             Supreme Court has held that a defendant can waive the “defect” of the

             plaintiff having an adequate remedy at law—the “defect” at issue here.

             Am. Mills Co. v. Am. Sur. Co. of N.Y., 260 U.S. 360, 363 (1922). This

             Court, too, has held that a defendant can waive an objection to the lack

             of authority to issue an equitable remedy. See Conn. Gen. Life Ins. Co. v.

             New Images of Beverly Hills, 321 F.3d 878, 882 (9th Cir. 2003) (finding

             defendant waived objection to court’s “equitable authority” to issue

             injunction where plaintiff also sought damages); accord Ellipso, Inc. v.

             Mann, 480 F.3d 1153, 1160 (D.C. Cir. 2007) (finding defendant “waived

             any objection to any asserted misuse of the court’s equitable powers”).

                   A defendant’s right to waive an equitable-jurisdiction objection is

             consistent with the right to waive other jurisdictional objections that do

             not impact the court’s subject-matter jurisdiction, such as personal

             jurisdiction or forum non conveniens. If a defendant objects to personal

             jurisdiction and the district court finds such jurisdiction lacking, or if a



                                                     38
(48 of 134), Page 48 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 48 of 55




             defendant raises a forum non conveniens objection that the district court

             grants, the court cannot “hear the merits” of the claim. Guzman, 49 F.4th

             at 1314; see Ruiz v. Snohomish Cnty. Pub. Util. Dist. No. 1, 824 F.3d 1161,

             1165 (9th Cir. 2016) (“[T]he court’s non-merits ruling was for lack of

             personal jurisdiction, depriving the court of the authority to rule on the

             merits.”); Sinochem Int’l Co. v. Malay. Int’l Shipping Corp., 549 U.S. 422,

             432 (2007) (“A forum non conveniens dismissal den[ies] audience to a case

             on the merits . . . .”) (citation and internal quotation marks omitted). But

             if a defendant does not raise such objections, or affirmatively waives its

             right to do so, the court may rule on the merits. See Leroy v. Great W.

             United Corp., 443 U.S. 173, 180 (1979) (“[N]either personal jurisdiction

             nor venue is fundamentally preliminary in the sense that subject-matter

             jurisdiction is, for both are personal privileges of the defendant, rather

             than absolute strictures on the court, and both may be waived by the

             parties.”); Ruiz, 824 F.3d at 1166 n.4 (“[A] defendant may waive the lack

             of personal jurisdiction . . . .”); Atl. Marine Const. Co. v. U.S. Dist. Ct. for

             the W. Dist. of Tex., 571 U.S. 49, 64 (2013) (“When parties agree to a

             forum-selection clause, they waive the right to challenge the preselected

             forum as inconvenient or less convenient for themselves or their



                                                     39
(49 of 134), Page 49 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 49 of 55




             witnesses, or for their pursuit of the litigation.”). The same is true for

             lack of equitable jurisdiction, which similarly impacts the power of a

             federal court to adjudicate the merits without impacting the court’s

             subject-matter jurisdiction.

                   The district court did not address any of these principles. The sole

             rationale it gave for rejecting Bradford’s potential waiver of the adequate-

             remedy-at-law defense was that Guzman had “held that the district court

             erred in granting summary judgment when it lacked equitable

             jurisdiction.” ER-12 n.2.

                   That is a perplexing reading of Guzman.               As discussed above,

             Guzman held that a district court’s dismissal for lack of equitable

             jurisdiction should be without prejudice, since a lack of equitable

             jurisdiction precludes a ruling on the merits. See 49 F.4th at 1314–15.

             The district court had therefore erred by granting summary judgment—

             a with-prejudice disposition—instead of simply dismissing the case. Id.

             at 1311. This Court did not address whether summary judgment might

             have been appropriate had the defendant waived its adequate-remedy-

             at-law defense because the defendant had not done so. Nor was there

             any reason for the defendant to have done so: Guzman originated in



                                                     40
(50 of 134), Page 50 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 50 of 55




             federal court, so the effect of asserting the adequate-remedy-at-law

             defense was to end the litigation, rather than divert it to state court via

             remand.

                   If anything, Guzman supports Bradford’s position.                  The Court

             stated that “federal courts sitting in diversity” are permitted to “exercise

             equitable jurisdiction” “to the extent federal equitable principles allow

             them to do so.” Guzman, 49 F.4th at 1315. Such principles include

             waiver of equitable defenses.

                   Bradford does not believe it should be forced to immediately waive

             its equitable defenses as a condition of avoiding remand. The district

             court should simply have denied the motion to remand because no

             statutory or doctrinal basis for remand exists. To be clear, if this Court

             sends this case back to the district court, Bradford does not intend to

             move to dismiss for lack of equitable jurisdiction. Instead, Bradford

             intends to seek dismissal with prejudice for failure to state a claim.

             However, this is Bradford’s decision to make—and remand is improper

             regardless of what motion Bradford chooses to file.

                   But if the Court disagrees and concludes that the district court had

             the authority to remand on the basis of lack of equitable jurisdiction, it



                                                     41
(51 of 134), Page 51 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 51 of 55




             should find that the district court abused its discretion in refusing to

             allow Bradford to waive its adequate-remedy-at-law defense.              That

             waiver would obviate the need for either abstention or remand. Though

             Ruiz may be the master of his complaint, Bradford is the master of its

             defenses, and it has the right, pursuant to CAFA, to choose whether to

             assert the adequacy of a legal remedy and thus litigate this matter in

             state court, or to waive that defense and stay in the forum Congress gave

             it the right to select. Bradford opts for the latter. Either way, this case

             must go forward in federal court, just as Congress intended.

                                             CONCLUSION

                   The district court’s remand order should be vacated.




                                                     42
(52 of 134), Page 52 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 52 of 55




              Dated: August 7, 2024                  Respectfully submitted:

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                                                     43
(53 of 134), Page 53 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 53 of 55




                                STATEMENT OF RELATED CASES

             9th Cir. Case Number(s) 24-3378

                   The undersigned attorney or self-represented party states the
             following:

             [ ] I am unaware of any related cases currently pending in this court.
             [ ] I am unaware of any related cases currently pending in this court
                 other than the case(s) identified in the initial brief(s) filed by the
                 other party or parties.
             [X] I am aware of one or more related cases currently pending in this
                 court. The case number and name of each related case and its rela-
                 tionship to this case are:


             Jose Ruiz v. The Bradford Exchange, Ltd., No. 24-3372, arises out of the
               same district court case as this appeal. That case, which involves a
               petition for permission to appeal pursuant to 28 U.S.C. § 1453(c)(1), is
               stayed pending the resolution of this appeal.




             Signature /s/ Kate T. Spelman                         Date August 7, 2024




                                                     44
(54 of 134), Page 54 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 54 of 55




                                 CERTIFICATE OF COMPLIANCE

             9th Cir. Case Number(s) 24-3378

                   I am the attorney or self-represented party.

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                   I certify that this brief (select only one):

             [X] complies with the word limit of Cir. R. 32-1.
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                 29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).
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                 32-2(a).


             Signature /s/ Kate T. Spelman                         Date August 7, 2024




                                                     45
(55 of 134), Page 55 of 134 Case: 24-3378, 08/07/2024, DktEntry: 8.1, Page 55 of 55




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                   I hereby certify that I electronically filed the foregoing with the

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             Circuit by using the ACMS e-filing system on August 7, 2024. I certify

             that all participants in the case are registered ACMS users and that

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                                                     46
(56 of 134), Page 56 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 1 of 43




                                                 NO. 24-3378


                        IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT
             __________________________________________________________________

                    JOSE RUIZ, individually and on behalf of all others similarly situated,
                                              Plaintiff-Appellee,
                                                      v.
                      THE BRADFORD EXCHANGE, LTD., an Illinois Corporation,
                                            Defendant-Appellant.

                    On Appeal from an Order of the United States District Court for the
                                    Southern District of California
                                     Case No. 3:23-cv-1800-WQH-KSC
                                        Honorable William Q. Hayes

                           ANSWERING BRIEF OF PLAINTIFF-APPELLEE

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(57 of 134), Page 57 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 2 of 43




                                                        TABLE OF CONTENTS

                                                                                                                              Page

             I.     INTRODUCTION ........................................................................................... 1
             II.    PROCEDURAL BACKGROUND ................................................................. 3
                    A.      Plaintiff’s Complaint ............................................................................. 3
                    B.      Removal to Federal Court ..................................................................... 3
                    C.      Plaintiff’s Motion to Remand ................................................................ 3
                            1.       Overview of federal equitable jurisdiction ................................. 4
                            2.       Federal equitable jurisdiction in diversity cases ......................... 5
                            3.       Remand as a proper procedural response to lack of
                                     federal equitable jurisdiction....................................................... 9
                    D.      Bradford’s Opposition ......................................................................... 14
                    E.      Plaintiff’s Reply .................................................................................. 15
                    F.      Plaintiff’s Supplemental Authority ..................................................... 16
                    G.      The District Court’s Order .................................................................. 17
             III.   STANDARD OF REVIEW ........................................................................... 19
             IV.    BRADFORD DOES NOT CONTEST THE DISTRICT COURT’S
                    HOLDING THAT IT LACKED EQUITABLE JURISDICTION ............... 19
             V.     THE DISTRICT COURT WAS CORRECT IN CONCLUDING
                    THAT REMAND IS A PROPER PROCEDURAL RESPONSE
                    WHEN EQUITABLE JURISDICTION IS LACKING IN A
                    REMOVED ACTION ................................................................................... 20
                    A.      When Federal Equitable Jurisdiction Is Lacking, Sonner and
                            Guzman Preclude a Federal Court From Adjudicating the
                            Merits of an Equitable Claim .............................................................. 20
                    B.      When Federal Equitable Jurisdiction Is Lacking in a Removed
                            Action, Remand Is a Viable Alternative to Dismissal Without
                            Prejudice .............................................................................................. 25




                                                                       i
(58 of 134), Page 58 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 3 of 43




             VI.     BRADFORD’S “WAIVER” ARGUMENT HAS NO MERIT .................... 28
                     A.       Lack of Equitable Jurisdiction Is a Restriction on the Court, Not
                              a Personal Privilege of a Single Party ................................................. 29
                     B.       Even If Lack of Equitable Jurisdiction Were a Defendant’s
                              Personal Privilege, Bradford Did Not Waive the Objection ............... 33
             VII. CONCLUSION.............................................................................................. 35




                                                                    ii
(59 of 134), Page 59 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 4 of 43




                                                   TABLE OF AUTHORITIES

                                                                                                                            Page(s)

             Federal Cases

             Allen v. Pullman’s Palace Car Co. (1891)
                139 U.S. 658 ...................................................................................................... 30

             American Mills Co. v. American Surety Co. of N.Y. (1922)
               260 U.S. 360 ..........................................................................................31, 32, 33

             Bartling v. Apple Inc. (In re Apple Processor Litig.),
               2023 U.S. App. LEXIS 24257 (9th Cir. 2023) ...........................................passim

             Bonetti v. TriStruX LLC, No. 24-cv-01319-LB,
               2024 U.S. Dist. LEXIS 115035 (N.D. Cal. June 27, 2024) ................................ 30

             Carnegie-Mellon Univ. v. Cohill (1988)
               484 U.S. 343 ...................................................................................................... 27

             Cates v. Allen (1893)
               149 U.S. 451 ...............................................................................................passim

             Clevenger v. Welch Foods Inc., No. SACV 23-00127-CJC,
                2023 U.S. Dist. LEXIS 38305 (C.D. Cal. Mar. 7, 2023) ............................passim

             Erie Railroad Co. v. Tompkins (1938)
                304 U.S. 64 .......................................................................................................... 6

             Grupo Mexicano De Desarrollo v. Alliance Bond Fund (1999)
               527 U.S. 308 ....................................................................................................... 29

             Guar. Tr. Co. v. York (1945)
               326 U.S. 99 ...................................................................................................21, 31

             Guthrie v. Transamerica Life Ins. Co. (N.D. Cal. 2021)
               561 F. Supp. 3d 869 .....................................................................................passim

             Guzman v. Polaris Industries Inc. (9th Cir. 2022)
               49 F.4th 1308 ..............................................................................................passim

             Hecht Co. v. Bowles (1944)
               321 U.S. 321 ...................................................................................................... 23

                                                                        iii
(60 of 134), Page 60 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 5 of 43




             Kamm v. ITEX Corp. (9th Cir. 2009)
               568 F.3d 752 ...................................................................................................... 19

             Morgan v. Rohr, Inc., No. 20-cv-574-GPC-AHG,
               2023 U.S. Dist. LEXIS 204868 (S.D. Cal. Nov. 15, 2023) ..............16, 17, 20, 26

             Mullins v. Premier Nutrition Corp., No. 3:13-cv-01271-RS
               (N.D. Cal. Mar. 21, 2013)) ...................................................................5, 9, 21, 26

             Pittmon v. CACI Int’l, Inc., No. CV 21-02044-CJC
                2023 U.S. Dist. LEXIS 213968 (C.D. Cal. Oct. 26, 2023) ................................ 26

             Polaris Indus. v. Albright (2023)
                143 S. Ct. 2612 .................................................................................................... 1

             Quackenbush v. Allstate Ins. Co. (1996)
               517 U.S. 706 ...............................................................................................passim

             Schlesinger v. Councilman (1975)
                420 U.S. 738 ..................................................................................................4, 17

             SDLA Courier Serv., Inc. v. Unlimited Capital, LLC
               No. CV 24-07544 TJH, 2024 U.S. Dist. LEXIS 161715
               (C.D. Cal. Sept. 6, 2024)...............................................................................30, 31

             SEC v. Med. Comm. for Human Rights (1972)
               404 U.S. 403 ........................................................................................................ 4

             Sonner v. Premier Nutrition Corp. (9th Cir. 2020)
                971 F.3d 834 ...............................................................................................passim

             Standard Fire Ins. Co. v. Knowles (2013)
                568 U.S. 588 ................................................................................................24, 25

             Twist v. Prairie Oil & Gas Co. (1927)
               274 U.S. 684 ...............................................................................................passim

             Federal Statutes

             28 U.S.C.
                § 1331.................................................................................................................... 4
                § 1332...........................................................................................................passim
                § 1447.................................................................................................................. 15


                                                                           iv
(61 of 134), Page 61 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 6 of 43




             California Statutes

             Cal. Bus. & Prof. Code
                § 17200 et seq. .............................................................................................passim
                § 17534.5............................................................................................................... 6
                § 17535.................................................................................................................. 3

             Cal. Civ. Code
                § 1750 et seq. ..............................................................................................5, 7, 12




                                                                           v
(62 of 134), Page 62 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 7 of 43




             I.    INTRODUCTION

                   After finding a lack of federal equitable jurisdiction over the two claims

             asserted in this action, the district court entered an order remanding the action to

             state court. Defendant-Appellant The Bradford Exchange, Ltd. (“Bradford”) now

             tries to paint the picture of a district court judge “invent[ing]” new legal doctrines

             without judicial precedent. That characterization is unfounded.

                   First, the district court’s finding of no equitable jurisdiction is firmly rooted

             in recent Ninth Circuit precedent. In Sonner v. Premier Nutrition Corp., 971 F.3d

             834 (9th Cir. 2020), a Ninth Circuit panel held that for a federal court sitting in

             diversity to adjudicate a state-law equitable claim, the court must have both subject

             matter jurisdiction and equitable jurisdiction, and that a federal court does not have

             equitable jurisdiction absent a plausible allegation that the plaintiff lacks an

             adequate legal remedy. Sonner, 971 F.3d at 839-844. Here, there is subject matter

             jurisdiction, but there is no allegation that Plaintiff lacks an adequate legal remedy,

             which means there is no federal equitable jurisdiction. Bradford does even attempt

             to show any error in that aspect of the district court’s order.

                   Second, the district court’s decision to remand has ample support. In

             Guzman v. Polaris Industries Inc., 49 F.4th 1308 (9th Cir. 2022), cert. denied sub

             nom. Polaris Indus. v. Albright, 143 S. Ct. 2612 (2023), another Ninth Circuit

             panel held that because lack of federal equitable jurisdiction speaks only to the



                                                        1
(63 of 134), Page 63 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 8 of 43




             inability of a federal court to adjudicate the claim, any disposition by the federal

             court must allow the claim to be pursued in state court. Guzman, 49 F.4th at 1314

             (citations omitted). In Guzman (as in Sonner before it), the initiating complaint was

             filed in federal court in the first instance, so remand was not possible and the

             disposition was dismissal without prejudice. In contrast, when a federal court’s

             lack of equitable jurisdiction occurs in the context of a removed action, the

             Supreme Court has recognized that remand is appropriate; and, aside from the

             order on appeal here, at least four other district court judges have entered similar

             remand orders, all well-reasoned, in the post-Sonner era.

                   Third, the district court correctly rejected Bradford’s argument that it should

             be “given the opportunity” to “waive” the lack of equitable jurisdiction. Bradford

             argues that lack of equitable jurisdiction is analogous to lack of personal

             jurisdiction. But insofar as waiver is concerned, a lack of equitable jurisdiction is

             more akin to lack of subject matter jurisdiction: The defect can be raised either by

             a party or by the court sua sponte. Even if a litigant could theoretically waive a

             lack of equitable jurisdiction, that has not occurred here: Plaintiff raised the issue

             in an early motion to remand; Bradford’s opposition declined to waive anything;

             and the district court decided the motion based on the record presented. The

             remand order should be affirmed.




                                                        2
(64 of 134), Page 64 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 9 of 43




             II.   PROCEDURAL BACKGROUND

                   A.     Plaintiff’s Complaint

                   Plaintiff’s Complaint was filed in California state court on August 28, 2023,

             alleging two causes of action: false advertising, based on violation of California

             Business and Professions Code sections 17600 et seq. and 17535 (“FAL”); and

             unfair competition, based on violation of California Business and Professions Code

             section 17200 et seq. (“UCL”). ER 91-184. Both causes of action are asserted on

             behalf of a putative class of California residents and seek restitution for Plaintiff

             and all putative class members. ER 92. The Complaint does not allege that Plaintiff

             lacks an adequate legal remedy.

                   B.     Removal to Federal Court

                   On September 28, 2023, Bradford removed the action to the district court on

             the basis of diversity of citizenship under the Class Action Fairness Act of 2005

             (“CAFA”). ER 80-86.

                   C.     Plaintiff’s Motion to Remand

                   On October 11, 2023, Plaintiff filed a motion to remand. ER 61-79. The

             motion to remand explained that both of the asserted causes of action are

             inherently equitable in nature and provide for only equitable relief. ER 72. The

             motion further explained that the Complaint does not allege that Plaintiff lacks an

             adequate remedy at law. Id. The gist of the motion was that under the controlling

             authority of Sonner and Guzman, these facts establish a lack of federal equitable

                                                        3
(65 of 134), Page 65 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 10 of 43




             jurisdiction. Id. The motion to remand provided the district court with an overview

             of equitable jurisdiction (ER 68-69), a discussion of federal equitable jurisdiction

             in diversity cases (ER 69-72), and a discussion of available procedural responses

             when a federal court lacks equitable jurisdiction over a state-law claim (ER 72-76).

             The substance of those sections are set forth below.

                          1.     Overview of federal equitable jurisdiction

                   Federal courts are courts of limited jurisdiction. One familiar limitation,

             rooted in the Constitution, is that there is no federal jurisdiction if there is no “case

             or controversy” within the meaning of Article III. SEC v. Med. Comm. for Human

             Rights, 404 U.S. 403, 407 (1972) (citations omitted). Another familiar limitation,

             rooted in statute, is that there must be subject matter jurisdiction, either “federal

             question” (28 U.S.C. § 1331) or “diversity” (28 U.S.C. § 1332).

                   There is yet a further limitation when a claim involves a request for

             equitable relief. In that circumstance, even if a federal court has subject matter

             jurisdiction, “[t]here remains the question of equitable jurisdiction.” Schlesinger v.

             Councilman, 420 U.S. 738, 754 (1975). Equitable jurisdiction is concerned with

             “whether consistently with the principles governing equitable relief the court may

             exercise its remedial powers.” Id. Put another way, equitable jurisdiction concerns

             “the power to entertain claims and award remedies that are equitable in nature.”

             Guthrie v. Transamerica Life Ins. Co., 561 F. Supp. 3d 869, 874 (N.D. Cal. 2021)



                                                         4
(66 of 134), Page 66 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 11 of 43




             (citation omitted). The essential limitation is that, before a federal court may

             entertain a request for equitable relief, the party seeking such relief must establish

             that there is no adequate remedy at law. Sonner, 971 F.3d at 844 (citations

             omitted); Guzman, 49 F.4th at 1312-13.

                          2.     Federal equitable jurisdiction in diversity cases

                   Within the past four years, the Ninth Circuit has considered and applied the

             requirement for federal equitable jurisdiction in three consumer class actions in

             which subject matter jurisdiction was based on CAFA.

                                 (a)    Sonner v. Premier Nutrition (2020)

                   Sonner involved a consumer class action asserting violation of the UCL and

             the Consumers Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (“CLRA”).

             Sonner, 971 F.3d at 838. Although only California statutes were at issue, the

             plaintiff had filed the complaint in federal court in the first instance pursuant to the

             minimal diversity/amount in controversy provisions of CAFA. Mullins v. Premier

             Nutrition Corp., No. 3:13-cv-01271-RS (N.D. Cal. Mar. 21, 2013), ECF No. 1

             (Compl. ¶ 8).

                   The Sonner court described the question before it in the following context.

             On one hand, “[i]t has long been the province of federal courts sitting in equity to

             apply a body of federal common law irrespective of state law.” Sonner, 971 F.3d at

             839 (citation omitted). That body of federal common law includes the limitation



                                                        5
(67 of 134), Page 67 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 12 of 43




             that a federal court may grant equitable relief only if the party seeking such relief

             establishes there is no adequate remedy at law. Id. at 844 (citations omitted). On

             the other hand, under Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938), “federal

             courts exercising diversity jurisdiction must follow state substantive law and

             federal procedural law when adjudicating state law claims.” Sonner, 971 F.3d at

             839 (citation omitted). Under the Erie doctrine, the outcome of a state law claim

             should be substantially the same regardless of whether it is filed in state or federal

             court. Id. at 841 (citing Guar. Tr. Co. v. York, 326 U.S. 99, 109 (1945) (“York”)).

                   Those two principles potentially conflict when a state has modified its

             substantive law so as to eliminate the no-adequate-remedy-at-law requirement for

             equitable relief. That is what California has done. The California Legislature has

             specified that the equitable remedies available under the FAL—restitution and

             injunctive relief—are “cumulative” to remedies available under all other laws of

             California. See Cal. Bus. & Prof. Code § 17534.5. Likewise, the California

             Legislature has specified that the equitable remedies available under the UCL—

             restitution and injunctive relief—are “cumulative” to remedies available under all

             other laws of California. See Cal. Bus. & Prof. Code § 17205. Thus, in California,

             equitable remedies may be awarded for violation of the FAL and UCL without

             regard to the existence of legal remedies. Therein lies the potential conflict. When

             a federal court sitting in diversity is presented with a state-law claim that



                                                        6
(68 of 134), Page 68 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 13 of 43




             permissibly seeks equitable remedies, but without a showing that legal remedies

             are inadequate, there is no way for the federal court to both conform to traditional

             federal equitable principles and apply the state’s substantive law. It must do one or

             the other.

                   In Sonner, the Ninth Circuit resolved this conflict by holding that federal

             equitable principles take precedence over state law. “At bottom, ‘[t]hat a State may

             authorize its courts to give equitable relief unhampered by’ the ‘restriction[]’ that

             an adequate remedy at law be unavailable ‘cannot remove th[at] fetter[] from the

             federal courts.’” Sonner, 971 F.3d at 843-44 (alterations in original) (quoting York,

             326 U.S. at 105-06). With respect to the specific context of California consumer-

             protection statutes, the Sonner court held that “the traditional principles governing

             equitable remedies in federal courts, including the requisite inadequacy of legal

             remedies, apply when a party requests restitution under the UCL and CLRA in a

             diversity action.” Sonner, 971 F.3d at 844 (italics added).

                                 (b)   Guzman v. Polaris Indus. (2022)

                   Guzman also involved a consumer class action asserting violation of

             California statutes, including the CLRA, UCL, and FAL. Guzman, 49 F.4th at

             1310. And, just as in Sonner, although only California statutes were at issue, the

             Guzman plaintiffs had filed the complaint in federal court in the first instance

             pursuant to CAFA, thus invoking the federal court’s diversity jurisdiction.



                                                        7
(69 of 134), Page 69 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 14 of 43




             Guzman, 49 F.4th at 1311 (“The district court had jurisdiction pursuant to the

             Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2).”). After the case was

             eventually whittled down to the UCL claim, the district court granted the

             defendant’s motion for summary judgment.

                   In an ensuing appeal, the Ninth Circuit held that the district court lacked

             equitable jurisdiction over the UCL claim and therefore could not adjudicate it.

             Guzman, 49 F.4th at 1314 (“[e]quitable jurisdiction is distinct from subject matter

             jurisdiction, although both are required for a federal court to hear the merits of an

             equitable claim”) (italics added). As a result of the lack of equitable jurisdiction,

             the district court should not have entertained a motion for summary judgment. Id.

             Instead, the district court should have dismissed the action, without prejudice, so

             that the UCL claim could be pursued in state court. Id. at 1314-15.

                                 (c)    Bartling v. Apple Inc. (2023)

                   One year later, in an unpublished decision, another Ninth Circuit panel

             applied Sonner and Guzman, reiterating that in federal court a plaintiff is

             “obligated to allege that [plaintiff] ha[s] no adequate legal remedy in order to state

             a claim for equitable relief.” Bartling v. Apple Inc. (In re Apple Processor Litig.),

             2023 U.S. App. LEXIS 24257, at *5-6 (9th Cir. Sept. 13, 2023). Because the

             plaintiffs failed to make that allegation, the Bartling court affirmed dismissal of the

             equitable claims. Id. at *6.



                                                        8
(70 of 134), Page 70 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 15 of 43




                          3.     Remand as a proper procedural response to lack of federal
                                 equitable jurisdiction

                   Plaintiff’s motion to remand explained that given the lack of federal

             equitable jurisdiction, the only remaining question was whether the next procedural

             step should be dismissal without prejudice or remand. Plaintiff pointed out that in

             Guzman, where the Ninth Circuit held the district court should have entered

             dismissal without prejudice, there was no possibility of remand because that case

             was filed in federal court in the first instance. See Guzman v. Polaris Indus. Inc.,

             No. 8:19-cv-01543-FLA-KES (C.D. Cal. Aug. 8, 2019), ECF No. 1 (Compl. ¶ 15).

             Accordingly, the Ninth Circuit explained that dismissal in that case would be

             “without prejudice to refiling the same claim in state court.” Guzman, 49 F.4th at

             1314 (citations omitted).

                   Here, in contrast, the Complaint was initially filed in state court, and the

             action was subsequently removed based on CAFA. At the time Plaintiff’s motion

             to remand was briefed, three different district judges in California had entered

             orders explaining why remand is appropriate in these circumstances.

                                 (a)     Guthrie v. Transamerica Life Ins. Co.

                   Guthrie was the first case post-Sonner to address the issue of whether a

             district court can remand a removed action over which it does not have equitable

             jurisdiction. In Guthrie, the plaintiffs filed a lawsuit in state court alleging only a

             UCL claim and seeking only equitable relief. Guthrie, 561 F. Supp. 3d at 872. The


                                                         9
(71 of 134), Page 71 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 16 of 43




             defendant removed the action to federal court based on CAFA, after which the

             plaintiffs moved to remand on the ground that the federal court lacked equitable

             jurisdiction under Sonner. After discussing the nature of federal equitable

             jurisdiction (id. at 873-74), and after determining that equitable jurisdiction was

             lacking in this context (id. at 874-77), the district court turned to a discussion of

             whether the next procedural step would be dismissal or remand.

                   The Guthrie court (District Judge William H. Orrick) concluded that remand

             is proper in this circumstance based on several decisions of the U.S. Supreme

             Court. Id. at 877-80. In Cates v. Allen, 149 U.S. 451 (1893), the action—seeking

             only equitable relief—was removed from Mississippi state court to federal court

             based on diversity of citizenship. Id. at 459. The district court thereafter entered a

             series of orders, which were eventually the subject of an appeal. The Supreme

             Court held there was no equitable jurisdiction and directed the district court to

             remand the action to the state court. Id. at 460-61. In Twist v. Prairie Oil & Gas

             Co., 274 U.S. 684 (1927), the Supreme Court reiterated the holding in Cates that, if

             a removed action is “beyond the equitable jurisdiction of the federal court” but the

             relief could be granted by a state court, remand should follow. Id. at 690 (citations

             omitted). The Guthrie court also explained that remand in this context is supported

             by Quackenbush v. Allstate Ins. Co., 517 U.S. 706 (1996), in which the Supreme

             Court held that federal courts can remand a removed case when a federal



                                                        10
(72 of 134), Page 72 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 17 of 43




             abstention doctrine would require the case to be dismissed or stayed if it had been

             filed in federal court originally. Id. at 717-18. The Guthrie court explained that

             abstention doctrines, which “originally stemmed from the authority of a federal

             court to decline to exercise its jurisdiction when it is asked to employ its historic

             powers as a court of equity,” are related to the boundaries of equitable jurisdiction.

             Guthrie, 561 F. Supp. 3d at 878-79 (internal quotation marks and citation omitted).

             Guzman likewise recognized the relationship between abstention principles and

             equitable jurisdiction, explaining that the withholding of relief by a federal court

             does not in any way affect the ability of a state court to grant relief on the merits.

             Guzman, 49 F.4th at 1314-15.

                   The Guthrie court found that in the circumstances before it, remand made

             the most practical sense because (1) a dismissal for lack of equitable jurisdiction is

             not a dismissal on the merits in any event, and therefore the equitable claim could

             simply be refiled in state court; and (2) remand eliminates the risk that the case

             could become stuck in a “perpetual loop” consisting of a filing in state court,

             followed by removal based on diversity of citizenship/CAFA, and then dismissal

             by the federal court for lack of equitable jurisdiction, which cycle could then

             repeat. Guthrie, 561 F. Supp. 3d at 880. “Neither law nor logic requires that result,

             and precedent suggests the contrary approach.” Id.




                                                        11
(73 of 134), Page 73 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 18 of 43




                                 (b)    Clevenger v. Welch Foods Inc.

                   The “perpetual loop” foreshadowed in Guthrie is not a mere hypothetical; it

             has been tried by at least one defendant. In Clevenger v. Welch Foods Inc.,

             No. SACV 23-00127-CJC (JDEx), 2023 U.S. Dist. LEXIS 38305 (C.D. Cal. Mar.

             7, 2023), the plaintiffs had previously filed an action in state court alleging

             violation of the UCL (seeking restitution and injunctive relief) and the CLRA

             (seeking money damages). Clevenger, 2023 U.S. Dist. LEXIS 38305, at *2. The

             defendant had removed that prior action to federal court, where the UCL claim was

             dismissed without prejudice for lack of equitable jurisdiction. Id. at *2. After the

             plaintiffs refiled the UCL claim in a new state court action, the defendants

             removed that new state court case to federal court under CAFA and then filed a

             motion to dismiss. In response, the plaintiffs filed a motion to remand. Id. at *3.

                   In granting the motion to remand, the Clevenger court (District Judge

             Cormac J. Carney) rejected the defendant’s argument that the existence of subject

             matter jurisdiction under CAFA precluded remand. The court held instead that the

             absence of equitable jurisdiction is a proper basis to remand an action to state

             court. Clevenger, 2023 U.S. Dist. LEXIS 38305, at *6-10 (citing Cates, Twist,

             Quackenbush, and Guthrie). The Clevenger court characterized as

             “gamesmanship” the defendant’s strategy of removing a case “knowing full-well

             that this Court lacked jurisdiction to adjudicate the claims that Plaintiffs asserted,”



                                                       12
(74 of 134), Page 74 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 19 of 43




             then turning around and seeking dismissal based on that very lack of jurisdiction.

             Id. at *13. The court explained that whereas a lack of equitable jurisdiction can

             result in dismissal of equitable claims when they are joined with other claims over

             which the district court continues to have jurisdiction, the situation is different

             when there are no other claims, i.e., when the lack of equitable jurisdiction means

             there is nothing for the district court to adjudicate. In that situation, remand is

             appropriate. Id. at *13 n.4.

                                 (c)    Granato v. Apple Inc.

                   In the same procedural context (a removed action with subject matter

             jurisdiction under CAFA, no equitable jurisdiction, and no non-equitable claims to

             be adjudicated), District Judge Edward J. Davila endorsed the analysis of Guthrie

             and Clevenger. Granato v. Apple Inc., No. 5:22-cv-02316-EJD, 2023 U.S. Dist.

             LEXIS 124318, at *11-17 (N.D. Cal. July 19, 2023). Judge Davila concluded that

             remand was preferred to dismissal because of (1) the “delicate balance in the

             federal-state relationship” (as discussed in both Sonner and Guzman) and (2) the

             interests of judicial economy and administration. Id. at *12-16.

                                                      * * *

                   Plaintiff’s motion to remand further explained that the policy and practical

             considerations discussed in Guthrie, Clevenger, and Granato have additional

             cogency in the instant case because remand would preserve the filing date of the



                                                        13
(75 of 134), Page 75 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 20 of 43




             initial state-court complaint. If this action were dismissed and a new action filed in

             state court, Bradford would likely contend that the new action must be subject to a

             new (i.e., shortened) limitations period. That could lead to the unintended and

             entirely avoidable effect of forfeiting the rights of some class members whose

             claims are at the cusp of the current limitations period. Principles of federalism,

             comity, judicial economy, and fundamental fairness counsel against that result.

             Clevenger, 2023 U.S. Dist. LEXIS 38305, at *13 (principles of federalism and

             comity counsel against extinguishing claims that could properly be litigated in state

             court). Plaintiff noted that remand would guarantee that those class members’

             claims are preserved for adjudication on the merits. ER 76.

                   D.     Bradford’s Opposition

                   Bradford’s opposition to the motion to remand focused on two primary

             arguments: (1) that lack of equitable jurisdiction is irrelevant as long as there is

             subject matter jurisdiction; and (2) that lack of equitable jurisdiction can never be

             the basis for remand. ER 43-54. Bradford also argued that “public policy” supports

             denial of the motion to remand, and that even if the district court had the power to

             remand, that would be premature. ER 54-59. At the end of its opposition, Bradford

             argued that “if the Court concludes it has authority to remand,” then Bradford

             should “be given the opportunity to waive its adequate-remedy-at-law defense.”

             ER 59-60.



                                                        14
(76 of 134), Page 76 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 21 of 43




                   E.     Plaintiff’s Reply

                   In reply, Plaintiff responded to the opposition arguments by explaining

             (again) that subject matter jurisdiction has no bearing on the motion to remand. As

             Sonner and Guzman make clear, both subject matter jurisdiction and equitable

             jurisdiction are required before a court can hear the merits of an equitable claim.

             ER 21. Thus, in the words of the Guzman court, the presence of subject matter

             jurisdiction is “not dispositive of whether the court [can] exercise equitable

             jurisdiction.” Guzman, 49 F.4th at 1314.

                   Plaintiff also explained why Bradford’s argument that remand can never be

             ordered in response to a lack of equitable jurisdiction is incorrect. In this regard,

             Plaintiff explained that Bradford’s attempt to cabin remand solely within the four

             corners of 28 U.S.C. § 1447 and the three specific non-statutory bases that

             Bradford is willing to acknowledge is unduly restrictive, and relatedly, that

             Bradford’s attempt to cast Cates and Twist as irrelevant due to the 1938 merger of

             the law and equity functions of federal courts lacks merit because that merger did

             not alter the traditional principles of equitable jurisdiction. ER 23-25. Plaintiff

             further explained that Bradford’s list of district court cases in which remand was

             denied are procedurally distinct because those cases involved a combination of

             equitable claims (which the district court could not adjudicate) and legal claims

             (which the district court would proceed to adjudicate). ER 25-26. In that



                                                        15
(77 of 134), Page 77 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 22 of 43




             circumstance, some courts decline remand of equitable claims on the theory that

             “partial” or “piecemeal” remand would be inappropriate and that the equitable

             claims should be dismissed without prejudice instead. The instant case does not

             involve any non-equitable claims, which eliminates any theoretical concern about

             partial remand.

                   F.     Plaintiff’s Supplemental Authority

                   On March 4, 2024, Plaintiff filed a Notice of Supplemental Authority, citing

             Morgan v. Rohr, Inc., No. 20-cv-574-GPC-AHG, 2023 U.S. Dist. LEXIS 204868

             (S.D. Cal. Nov. 15, 2023). In Morgan, District Judge Gonzalo P. Curiel entered an

             order remanding the plaintiffs’ UCL claim to state court. Id. at *1, 17. This order

             was entered in response to the plaintiffs’ motion for reconsideration, which

             followed an earlier order in which the district court had dismissed the UCL claim

             without prejudice based on Guzman. Id. at *2-3. On reconsideration, the district

             court explained that the case before it was different than Guzman in that “Guzman

             was originally filed in federal court, whereas the instant case was not.” Id. at *3.

             That distinction was significant, the court said, because remand was “not an

             option” in Guzman but it was an option in the case before it. Id. at *8-9. After a

             detailed discussion of relevant case law, including Cates, Twist, Quackenbush,

             Guthrie, Clevenger, and Granato, and after considering the fact that forcing the

             plaintiffs to file a new action in state court could “extinguish the UCL claims of



                                                       16
(78 of 134), Page 78 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 23 of 43




             certain plaintiffs” (including at least one of the named plaintiffs), the district court

             concluded that remand was preferred over dismissal for reasons of fairness,

             economy, and efficiency. Id. at *13-14.

                   Notably, the Morgan court held that remand of the equitable UCL claim was

             appropriate even though the action involved several legal claims that the district

             court would continue to adjudicate. Id. at *2, 11-12, 14-15. Analogizing this

             situation to discretionary remand of state-law claims in the context of supplemental

             jurisdiction, the Morgan court explained that similar flexibility for partial remand

             should apply when a federal court lacks equitable jurisdiction. Id. at *15.

                   G.     The District Court’s Order

                   On May 16, 2024, the district court entered an order granting the motion to

             remand. ER 3-13. Addressing Plaintiff’s arguments in sequence, the district court

             noted that the Complaint does not allege the lack of an adequate legal remedy and

             does not otherwise suggest that a damages award would be an inadequate remedy.

             As such, the district court held there is no equitable jurisdiction. ER 6-7.

                   Next, the district court held that remand is appropriate, basing that

             conclusion on the Supreme Court precedent of Cates, Twist, Quackenbush, and

             Schlesinger, and on post-Sonner district court cases (Guthrie, Clevenger, Granato,

             and Morgan) that conclude remand is appropriate when a district court lacks

             equitable jurisdiction in the context of a removed action. ER 7-12. In rejecting



                                                        17
(79 of 134), Page 79 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 24 of 43




             Bradford’s argument that the 1938 merger of law and equity functions in federal

             courts rendered Cates and Twist irrelevant, the district noted that Bradford did not

             explain why that merger matters here and cited authority holding that “the

             substantive remedial principles [applicable] prior to the advent of the federal rules

             [have] not changed.” ER 10 (quoting Petrella v. Metro-Goldwyn-Mayer, Inc., 572

             U.S. 663, 679 (2014) (citations omitted) (alterations in original)). In rejecting

             Bradford’s argument that remand runs counter to CAFA, the district court

             explained that CAFA’s “alterations to the federal diversity statute do not concern

             equitable jurisdiction, and do not empower courts to consider the merits of class

             action claims where equitable jurisdiction is lacking.” ER 10-11. The court also

             distinguished cases cited by Bradford in which several district courts have ordered

             dismissal, not remand, for equitable claims when the action also involved legal

             claims that the district court would retain for adjudication. ER 11-12. The district

             court also considered the fact that dismissal without prejudice would create the

             potential for a “perpetual loop” of re-filing in state court, removal, and dismissal

             (as occurred in Clevenger), whereas remand precludes that scenario. ER 12.

                   Finally, regarding Bradford’s argument that it should be given the

             opportunity to waive the adequate-remedy-at-law defense, the district court

             concluded that argument is “unavailing in light of Guzman, which held that the




                                                       18
(80 of 134), Page 80 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 25 of 43




             district court erred in granting summary judgment when it lacked equitable

             jurisdiction.” ER 12.

             III.   STANDARD OF REVIEW

                    When a district court’s decision to remand a removed case is reviewable, the

             Ninth Circuit applies a de novo standard. Kamm v. ITEX Corp., 568 F.3d 752, 754

             (9th Cir. 2009) (citations omitted).

             IV.    BRADFORD DOES NOT CONTEST THE DISTRICT COURT’S
                    HOLDING THAT IT LACKED EQUITABLE JURISDICTION

                    The district court held that it lacked equitable jurisdiction, and Bradford’s

             opening brief implicitly concedes that holding was correct. Although Bradford

             describes Plaintiff’s argument as based on an “alleged” or “purported” lack of

             equitable jurisdiction (Opening Brief (“AOB”) at 1, 12, 16), or on a “distorted

             construction” of equitable jurisdiction (AOB at 2), Bradford makes no attempt to

             explain any different view of what federal equitable jurisdiction is or how it is

             present in this case. Indeed, Bradford says its appeal presents only two issues,

             propriety of remand and waiver, neither of which concerns whether equitable

             jurisdiction exists. AOB at 4. Thus, the district court’s holding of no equitable

             jurisdiction is uncontested.




                                                       19
(81 of 134), Page 81 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 26 of 43




             V.    THE DISTRICT COURT WAS CORRECT IN CONCLUDING THAT
                   REMAND IS A PROPER PROCEDURAL RESPONSE WHEN
                   EQUITABLE JURISDICTION IS LACKING IN A REMOVED
                   ACTION

                   Having found no federal equitable jurisdiction, the next issue is: What are

             the procedural implications?

                   It seems there are three potential possibilities. In Sonner, Guzman, and

             Bartling, where the complaints were initially filed in federal court, the result was

             dismissal without prejudice to refiling in state court. In Guthrie, Clevenger,

             Granato, and Morgan, where the complaints were initially filed in state court, the

             result was remand. Bradford here seems to argue for a third alternative, suggesting

             that the lack of equitable jurisdiction is irrelevant and should be disregarded as

             long as there is subject matter jurisdiction. AOB at 28-31.

                   In Section V.A below, Plaintiff shows that the third alternative proposed by

             Bradford is invalid as directly contrary to Sonner, Guzman, and Bartling. Then, in

             Section V.B, we discuss why remand is permissible for lack of equitable

             jurisdiction when (as here) the action was removed from state court.

                   A.     When Federal Equitable Jurisdiction Is Lacking, Sonner and
                          Guzman Preclude a Federal Court From Adjudicating the Merits
                          of an Equitable Claim

                   Bradford acknowledges that when the district court concluded it lacked

             equitable jurisdiction, the court “effectively abstain[ed] from deciding the case.”

             AOB at 15. Regardless of whether the court’s determination that it could not


                                                       20
(82 of 134), Page 82 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 27 of 43




             adjudicate the merits is labeled as “abstention,” “abstention-adjacent” (AOB at 13),

             a doctrine “likened to abstention” (AOB 21), or something else, the procedural

             response could take one of two forms: dismissal without prejudice or remand.

             Bradford, however, contends the district court should not have abstained, and that

             it instead should have proceeded to adjudication of the merits based solely on the

             fact that the court had subject matter jurisdiction. AOB at 28-31. Established Ninth

             Circuit precedent precludes a federal court from doing that.

                   It is an indisputable fact that in Sonner, Guzman, and Bartling, there was

             subject matter jurisdiction based on CAFA. See Mullins v. Premier Nutrition

             Corp., No. 3:13-cv-01271-RS (N.D. Cal. Mar. 21, 2013), ECF No. 1 (Compl. ¶ 8);

             Guzman v. Polaris Indus., Inc., No. 8:19-cv-01543-FLA-KES (C.D. Cal. Aug. 8,

             2019), ECF No. 1 (Compl. ¶ 15); Bartling v. Apple Inc., No. 5:18-cv-00147

             (N.D. Cal. Jan. 8, 2018), ECF No. 1 (Compl. ¶ 12). Thus, if it were true that the

             presence of CAFA subject matter jurisdiction could supersede and nullify the

             requirement for equitable jurisdiction, the equitable claims in those cases would

             not have been dismissed and instead would have been retained for adjudication in

             federal court.

                   The Ninth Circuit held otherwise. In the words of Sonner, the principle that

             there is no equitable jurisdiction absent a showing that the plaintiff lacks an

             adequate legal remedy is a “rigid restriction[] on a federal court’s equitable powers



                                                       21
(83 of 134), Page 83 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 28 of 43




             explicitly enumerated in York.” Sonner, 971 F.3d at 842. In the words of Guzman,

             “[e]quitable jurisdiction is distinct from subject matter jurisdiction, although both

             are required for a federal court to hear the merits of an equitable claim”; and when

             federal equitable jurisdiction is lacking, a district court is “bar[red]” from

             considering the merits of a state-law equitable claim. Guzman, 49 F.4th at 1314

             (italics added). “As is the case when federal courts decline to exercise jurisdiction

             under abstention principles or the doctrine of forum non conveniens, a federal court

             that dismisses a claim for lack of equitable jurisdiction necessarily declines ‘to

             assume the jurisdiction and decide the cause.’” Id. (citations omitted).

                   Bradford puts significant weight on its argument that recognizing lack of

             equitable jurisdiction as an analogue to abstention would “undermine[] CAFA.”

             AOB at 28-31. But the interplay between lack of equitable jurisdiction and CAFA

             is no different here than it was in Sonner, Guzman, and Bartling. In Guzman for

             instance, the Ninth Circuit directed that the end result would be dismissal without

             prejudice so that the equitable claims could be filed in state court. Guzman

             explains: “Thus, a federal court’s pre-merits determination to withhold relief is

             binding on other federal courts, but not on courts outside the federal system that

             might properly exercise their own jurisdiction over the claim. [¶] In accordance

             with this general rule, the district court should have dismissed Albright’s UCL




                                                        22
(84 of 134), Page 84 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 29 of 43




             claim without prejudice to refiling the same claim in state court.” Guzman, 49

             F.4th at 1314 (citations omitted).

                   The only procedural distinction between the instant case, on one hand, and

             Sonner, Guzman, and Bartling, on the other hand, is that in those cases CAFA

             jurisdiction was invoked by the plaintiffs when they filed their respective

             complaints in federal court, whereas here CAFA jurisdiction was invoked by

             defendant Bradford when it filed a notice of removal. Insofar as subject matter

             jurisdiction is concerned, however, that is a distinction without a difference. Either

             way, CAFA jurisdiction exists. There is nothing in the CAFA statute or legislative

             history that makes subject matter jurisdiction more sacrosanct when it attaches

             through removal rather than through the direct filing of a complaint. Moreover,

             nothing in CAFA “purport[s] to alter traditional equitable rules.” Guthrie, 561

             F. Supp. 3d at 879; Clevenger, 2023 U.S. Dist. LEXIS 38305, at *12. If, as

             Bradford suggests, Congress intended to eliminate the traditional requirement for

             equitable jurisdiction when enacting CAFA, it would have been explicit. See Hecht

             Co. v. Bowles, 321 U.S. 321, 330 (1944) (declining to construe statute as requiring

             courts to enter an injunction, rather than exercising discretion, because “if

             Congress desired to make such an abrupt departure from traditional equity practice

             as is suggested, it would have made its desire plain”). In Clevenger, Judge Carney

             rejected the defendant’s argument that requiring both equitable jurisdiction and



                                                       23
(85 of 134), Page 85 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 30 of 43




             subject matter jurisdiction would create “an end run around CAFA.” Clevenger,

             2023 U.S. Dist. LEXIS 38305, at *11-12. Describing that argument as

             unpersuasive “handwringing,” Judge Carney noted that federal courts sitting in

             diversity can adjudicate state-law equitable claims when the plaintiff lacks an

             adequate remedy at law, and that when there is an adequate legal remedy, plaintiffs

             should still be able to have their equitable claims “heard by a court of competent

             jurisdiction” (i.e., a state court). Id. at *12. Given that CAFA subject matter

             jurisdiction did not nullify the need for federal equitable jurisdiction in Sonner,

             Guzman, and Bartling, or in Guthrie and Clevenger, the same is true here.

                   Bradford also puts significant weight on its argument that because a class

             action plaintiff cannot avoid CAFA jurisdiction by waiving recoverable amounts in

             excess of $5 million, Standard Fire Ins. Co. v. Knowles, 568 U.S. 588 (2013), then

             by analogy, a plaintiff should not be able to forego a legal claim that could be

             adjudicated in federal court. AOB at 30-31. But that analogy lacks correspondence.

             The principle of equitable jurisdiction has nothing to do with CAFA’s amount-in-

             controversy requirement. If federal equitable jurisdiction is lacking, the claim

             cannot be heard on the merits in federal court regardless of the claim’s potential or

             perceived value. Beyond that, Bradford’s suggestion that foregoing a legal claim

             could operate to the detriment of the putative class has no possible application here

             because—as Bradford itself emphasizes—“Ruiz seeks the exact same monetary



                                                       24
(86 of 134), Page 86 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 31 of 43




             relief via his equitable claims as he would seek under his allegedly cognizable

             legal claims.” AOB at 2. And, even if Plaintiff had included a legal claim in the

             Complaint along with the equitable UCL and FAL claims, the district court still

             would not have equitable jurisdiction over the UCL and FAL claims; those claims

             would have to be dismissed or remanded for adjudication in state court in any

             event. Bradford’s analogy based on Knowles thus breaks down and has no

             persuasive value in this context.

                   B.     When Federal Equitable Jurisdiction Is Lacking in a Removed
                          Action, Remand Is a Viable Alternative to Dismissal Without
                          Prejudice

                   As distinguished from cases that are initiated in federal court, cases that

             reach federal court through removal have no impediment to remand when the

             federal court cannot adjudicate the claim due to lack of equitable jurisdiction. As

             Guzman explains, a federal court’s inability to adjudicate an equitable claim due to

             lack of equitable jurisdiction is analogous to a federal court “declin[ing] to exercise

             jurisdiction under abstention principles,” 49 F.4th at 1314, and Cates, Twist, and

             Quackenbush all say that federal courts have the power to remand such equitable

             actions when they were previously removed from state court. Cates, 149 U.S. at

             461; Twist, 274 U.S. at 689-90; Quackenbush, 517 U.S. at 721.

                   Aside from the close analogy between lack of equitable jurisdiction and

             abstention, there is also a close analogy between lack of equitable jurisdiction and



                                                       25
(87 of 134), Page 87 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 32 of 43




             a federal court’s power to dismiss or remand state-law claims that are before the

             court based on supplemental jurisdiction in a federal-question case. Bradford itself

             acknowledges supplemental jurisdiction as a proper non-statutory basis for

             remand. AOB at 19. In Pittmon v. CACI Int’l, Inc., No. CV 21-02044-CJC (JEMx),

             2023 U.S. Dist. LEXIS 213968 (C.D. Cal. Oct. 26, 2023), the district court held

             that Sonner and its requirement for equitable jurisdiction over state-law equitable

             claims applies not only to claims that are before the court based on diversity

             jurisdiction (as in Sonner), but also to claims that are before the court based on

             supplemental jurisdiction. Id. at *22-23. The complaint in Pittmon was filed in the

             first instance in federal court, not state court, so based on Guzman, the district

             court ended up dismissing the equitable UCL claim without prejudice to refiling in

             state court. Id. at *25-26; see Pittmon v. CACI Int’l, Inc., No. CV 21-01044

             (C.D. Cal. Mar. 5, 2021), ECF No. 1 (Compl. ¶ 11 (invoking supplemental

             jurisdiction over state-law claims pursuant to 28 U.S.C. § 1367)). Obviously, if that

             complaint had been filed initially in state court, and then removed, the district court

             would have had the option of remanding the UCL claim.

                   Moreover, as Guthrie, Clevenger, Granato, and Morgan explain, remand is

             often preferred over dismissal for reasons of efficiency, comity, and fairness. See

             ante at 9-14, 17-18. Just as in Clevenger and Morgan, remand is important here to

             ensure that the statute of limitations is preserved for the entire class period based



                                                       26
(88 of 134), Page 88 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 33 of 43




             on the filing date of the Complaint. More than 13 months have passed since the

             Complaint was filed such that we are now more than four years past the date of

             Plaintiff’s transaction with Bradford (May 2020). ER 103-104. The same is

             obviously true for the transactions of many putative class members whose claims,

             as of now, are timely based on the filing date of the current Complaint. By the time

             this appeal process runs its course and the case gets to the point of being ready to

             resume in state court, we could be close to two years post-filing. In the analogous

             context of state-law claims pending in federal court pursuant to supplemental

             jurisdiction, the Supreme Court considered statute of limitations concerns to be a

             “potent reason” for authorizing remand, not just dismissal. Carnegie-Mellon Univ.

             v. Cohill, 484 U.S. 343, 351-52 (1988). And, “[e]ven when the applicable statute of

             limitations has not expired, a remand may best promote the values of economy,

             convenience, fairness, and comity.” Id. at 353. So too, here, to avoid the risk of

             extinguishing claims based solely on the passage of time after a timely-filed case

             has been removed to federal court, and to promote economy, convenience, fairness,

             and comity, remand is favored over dismissal.

                   Similarly, just as in Clevenger, it seems evident here that remand will be

             necessary to effectively return the case to state court. Bradford has all but promised

             that if the result is dismissal and a new case needs to be filed in state court,




                                                        27
(89 of 134), Page 89 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 34 of 43




             Bradford will once again remove based on CAFA in pursuit of a “perpetual loop.”

             AOB at 33.

                   Ultimately, whether by remand or dismissal without prejudice, when state-

             law claims are not subject to adjudication in federal court based on lack of federal

             equitable jurisdiction, federal courts respect the right of a state to authorize its

             courts to adjudicate those claims. Here, the most efficient and fairest way to return

             Plaintiff’s equitable claims to state court is by remand.

             VI.   BRADFORD’S “WAIVER” ARGUMENT HAS NO MERIT

                   Bradford’s final argument on appeal relates to waiver. In essence, Bradford

             contends that it—and it alone—had (and still has) the unilateral right to decide

             whether a federal court can properly adjudicate Plaintiff’ equitable claims. To the

             district court, Bradford cited two cases in support of its waiver argument, but those

             cases stand only for the proposition that a litigant can waive the right to present an

             argument on appeal by failing to make it to the district court in the first instance.

             ER 59 (citing Conn. Gen. Life Ins. Co. v. New Images of Beverly Hills, 321 F.3d

             878, 882 (9th Cir. 2003) and Ellipso, Inc. v. Mann, 480 F.3d 1153, 1160 (D.C. Cir.

             2007)). Bradford takes a different tack on appeal, analogizing a lack of equitable

             jurisdiction to a lack of personal jurisdiction, relying on cases in which courts have

             described rules regarding personal jurisdiction as a “personal privilege” that a




                                                        28
(90 of 134), Page 90 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 35 of 43




             defendant may assert, or not, as it sees fit. AOB at 39. There are two basic flaws

             with Bradford’s waiver argument, discussed below.

                   A.     Lack of Equitable Jurisdiction Is a Restriction on the Court, Not a
                          Personal Privilege of a Single Party

                   The first flaw in Bradford’s argument is that the boundaries of equitable

             jurisdiction represent a real restriction on the power of federal courts, separate and

             apart from any “defense” that a party may assert. The Supreme Court has described

             the nature and scope of equitable jurisdiction as follows:

                   The Judiciary Act of 1789 conferred on the federal courts jurisdiction
                   over “all suits . . . in equity.” 1 Stat. 78. We have long held that “the
                   ‘jurisdiction’ thus conferred . . . is an authority to administer in equity
                   suits the principles of the system of judicial remedies which had been
                   devised and was being administered by the English Court of Chancery
                   at the time of the separation of the two countries.” [Citations]
                   “Substantially, then, the equity jurisdiction of the federal courts is the
                   jurisdiction in equity exercised by the High Court of Chancery in
                   England at the time of the adoption of the Constitution and the
                   enactment of the original Judiciary Act, 1789 (1 Stat. 73).” [Citation]
                   “The substantive prerequisites for obtaining an equitable remedy …
                   depend on traditional principles of equity jurisdiction.” [Citation] We
                   must ask, therefore, whether the relief respondents requested here was
                   traditionally accorded by courts of equity.

             Grupo Mexicano De Desarrollo v. Alliance Bond Fund, 527 U.S. 308, 318-19

             (1999). Given that historical context, it makes no sense to say that a federal court


                                                       29
(91 of 134), Page 91 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 36 of 43




             would be justified in disregarding the limited scope of its equitable jurisdiction so

             long as a defendant did not interpose a “defense,” nor does it make any sense to

             say that a waiver by one party could “restore” equitable jurisdiction that is lacking

             in the first place. In this respect, lack of equitable jurisdiction is much more akin to

             lack of subject matter jurisdiction than it is to lack of personal jurisdiction.

                   For example, as with subject matter jurisdiction, lack of equitable

             jurisdiction can be raised by any party or by the court sua sponte. Allen v.

             Pullman’s Palace Car Co., 139 U.S. 658, 662 (1891) (“if the court, in looking at

             the proofs, found none of the matters which would make a proper case for equity, it

             would be the duty of the court to recognize the fact and give it effect, though not

             raised by the pleadings nor suggested by counsel”). In Guthrie, Clevenger, and

             Granato, the district courts made findings regarding lack of equitable jurisdiction

             in response to motions to remand filed by the respective plaintiffs, not in response

             to motions or objections asserted by a defendant. Similarly, in Bonetti v. TriStruX

             LLC, No. 24-cv-01319-LB, 2024 U.S. Dist. LEXIS 115035 (N.D. Cal. June 27,

             2024), the district court ordered that the UCL claim be dismissed without prejudice

             to refiling in state court, even though the defendant had not filed any motion

             seeking that relief and the lack of equitable jurisdiction was pointed out by the

             plaintiff. Id. at *20-21. And most recently, in SDLA Courier Serv., Inc. v.

             Unlimited Capital, LLC, No. CV 24-07544 TJH (ASx), 2024 U.S. Dist. LEXIS



                                                        30
(92 of 134), Page 92 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 37 of 43




             161715 (C.D. Cal. Sept. 6, 2024), the district court sua sponte dismissed the

             plaintiff’s UCL claim for lack of equitable jurisdiction, based on failure to allege

             that legal remedies are inadequate. Id. at *5, 8. That dismissal order was entered

             two days after the complaint was filed and before any defendant had appeared in

             the action. Id. at *4-5.

                    The foregoing cases are in keeping with the Sonner court’s description of the

             requirement for equitable jurisdiction as a “rigid restriction[] on a federal court’s

             equitable powers explicitly enumerated in York.” Sonner, 971 F.3d at 842. Thus,

             while questions regarding the scope of a federal court’s equity jurisdiction can be

             (and often are) raised by defendants, a defendant’s failure to do so does not expand

             the court’s equitable powers, does not preclude another party from raising the

             issue, and does not preclude the court itself from raising the issue or acting upon

             the issue regardless of who raises it. Allen and the other cases cited above therefore

             also undermine Bradford’s attempt to shape-shift equitable jurisdiction principles

             depending on whether it views them as operating as “shield” or “sword” (AOB 31-

             33), and its accusation that it was “gamesmanship” for Plaintiff to raise the

             equitable jurisdiction issue (AOB at 2).

                    None of the cases cited by Bradford undermine Allen’s holding that lack of

             equitable jurisdiction can be raised by any party or by the court sua sponte. For

             example, Bradford cites American Mills Co. v. American Surety Co. of N.Y., 260



                                                        31
(93 of 134), Page 93 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 38 of 43




             U.S. 360 (1922) for the proposition that “a defendant can waive the ‘defect’ of the

             plaintiff having an adequate legal remedy at law[.]” AOB at 38. But the

             circumstances and issues addressed in American Mills bear no similarity to the lack

             of equitable jurisdiction in the instant case. In American Mills, the court was

             dealing with newly-promulgated rules of pleading and practice for the then-

             existing equity side of federal courts. Am. Mills, 260 U.S. at 363-64. One of those

             new rules, Equity Rule 30, required that:

                   The answer must state in short and simple form any counter-claim
                   arising out of the transaction which is the subject matter of the suit,
                   and may, without cross-bill, set out any set-off or counter-claim
                   against the plaintiff which might be the subject of an independent suit
                   in equity against him, and such set-off or counter-claim so set up,
                   shall have the same effect as a cross-suit, so as to enable the court to
                   pronounce a final judgment in the same suit both on the original and
                   cross-claims.

             Am. Mills, 260 U.S. at 363-64. In that litigation, the defendant filed an answer and,

             in addition, asserted a counterclaim setting forth a legal cause of action, not an

             equitable one. Id. at 364. As described by the Supreme Court, the case “involve[d]

             a question of procedure and turn[ed] on the construction of Equity Rule 30,” id. at

             361, and specifically, whether the term “counter-claim” in the rule was limited to a

             claim in equity or, alternatively, whether it encompassed legal claims, as the

             petitioner contended, id. at 364. The Supreme Court held that Rule 30 was limited


                                                       32
(94 of 134), Page 94 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 39 of 43




             to claims in equity, explaining that “[the new Equity Rules] certainly were not

             drawn to change in any respect the line between law and equity as made by the

             federal statutes, practice and decisions when the rules were promulgated.” Id. The

             Supreme Court further held that by asserting and presenting proofs on the legal

             claim, the petitioner had waived any objection to the court adjudicating the matter,

             including both the equitable and legal issues. Id. at 366.

                   Plainly, there is no similarity between American Mills and the instant case.

             There, the issue was construction of a procedural rule (which has long since been

             abrogated); whereas here, the issue is whether Plaintiff’s state-law equitable claims

             are within the scope of traditional principles of federal equitable jurisdiction given

             that Plaintiff has not alleged the absence of an adequate legal remedy. There is no

             federal equitable jurisdiction here, and Sonner and Guzman require that Plaintiff’s

             claims be adjudicated in state court. Nothing in American Mills (or other cases

             cited by Bradford) establishes otherwise.

                   B.     Even If Lack of Equitable Jurisdiction Were a Defendant’s
                          Personal Privilege, Bradford Did Not Waive the Objection

                   The second flaw in Bradford’s waiver argument is that Bradford did not

             actually waive anything in this case. The absence of a waiver is evident in

             Bradford’s briefing to the district court. The final argument in Bradford’s

             opposition, set forth in two short paragraphs, was that “[i]f the Court concludes it

             has the authority to remand, and also concludes that there is an adequate remedy at


                                                       33
(95 of 134), Page 95 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 40 of 43




             law,” then Bradford should be “given the opportunity” to waive an adequate-

             remedy-at-law defense. ER 59. Bradford represented that in that circumstance, it

             “would anticipate” waiving its defense, while emphasizing that its “first-line

             position is that it is entitled to a federal forum under CAFA[.]” ER 59-60.

                   In its opening brief on appeal, Bradford now characterizes those statements

             as constituting a “waiver” that the district court “disregard[ed].” AOB at 36. Even

             now, however, Bradford is angling for some advance notice about what the end

             result of this appeal will be before making any decision about waiver. See AOB at

             41. Only “if the Court disagrees [with Bradford’s position] and concludes that the

             district court had the authority to remand on the basis of lack of equitable

             jurisdiction,” then Bradford would “choose whether to assert the adequacy of a

             legal remedy[.]” AOB at 41-42 (italics added). Bradford itself describes its position

             as a “potential waiver.” AOB at 40. The fact that Bradford is using such

             conditional language even now, when the district court’s order is being reviewed

             on appeal, demonstrates that Bradford did not waive anything in the proceeding

             below. Accordingly, even if lack of equitable jurisdiction were viewed as a

             defendant’s personal privilege such that waiver could compel a federal court to

             proceed beyond the scope of traditional principles of equity jurisdiction, the

             absence of an actual waiver in this case means there was no error in this aspect of

             the district court’s remand order.



                                                      34
(96 of 134), Page 96 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 41 of 43




             VII. CONCLUSION

                   Based on the foregoing, the district court did not err in remanding this action

             to state court. That order should be affirmed.

             DATED: October 7, 2024              DOSTART HANNINK LLP


                                                 s/ Zach P. Dostart
                                                 ZACH P. DOSTART
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                                                      35
(97 of 134), Page 97 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 42 of 43




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                                                      36
(98 of 134), Page 98 of 134 Case: 24-3378, 10/07/2024, DktEntry: 15.1, Page 43 of 43




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                                                          37
(99 of 134), Page 99 of 134 Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 1 of 36




                                        No. 24-3378
             __________________________________________________________________

                     IN THE UNITED STATES COURT OF APPEALS
                                FOR THE NINTH CIRCUIT
             __________________________________________________________________

                                               JOSE RUIZ,
                                            Plaintiff-Appellee,
                                                      v.

                            THE BRADFORD EXCHANGE, LTD.,
                                    Defendant-Appellant.
             __________________________________________________________________

                       On Appeal from the United States District Court
                            for the Southern District of California
                              Case No. 3:23-cv-01800-WQH-KSC
                               The Honorable William Q. Hayes
             __________________________________________________________________

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(100 of 134), Page 100 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 2 of 36




                                               TABLE OF CONTENTS

             INTRODUCTION ....................................................................................... 1

             ARGUMENT ............................................................................................... 3

             I.      The District Court Erred in Remanding Due to a Lack of
                     Equitable Jurisdiction. ...................................................................... 3

                     A.      Ruiz Concedes That No Recognized Basis for Remand
                             Exists Here. .............................................................................. 3

                     B.      Expanding the Bases for Remand to Include Lack of
                             Equitable Jurisdiction Turns the Doctrine on Its Head. ..... 12

                             i.      The adequate-remedy-at-law doctrine bears on
                                     both a federal court’s authority to issue a remedy
                                     and a defendant’s right to a jury trial, but not on
                                     a federal court’s fundamental power to act. ................ 13

                             ii.     The consequences of recognizing remand here
                                     would be grave and far-reaching. ................................. 18

             II.     This Court Should Recognize Bradford’s Waiver of the
                     Adequate-Remedy-at-Law Defense. ............................................... 21

             CONCLUSION ......................................................................................... 27

             CERTIFICATE OF COMPLIANCE ........................................................ 29

             CERTIFICATE OF SERVICE.................................................................. 30




                                                                  i
(101 of 134), Page 101 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 3 of 36




                                           TABLE OF AUTHORITIES

                                                                                                        Page(s)

             Cases

             Adams v. W. Marine Prods., Inc.,
               958 F.3d 1216 (9th Cir. 2020) ................................................................ 5

             Adkins v. VIM Recycling, Inc.,
               644 F.3d 483 (7th Cir. 2011) .................................................................. 5

             Agua Caliente Band of Cahuilla Indians v. Hardin,
               223 F.3d 1041 (9th Cir. 2000) ........................................................ 14, 15

             Allen v. Pullman’s Palace-Car Co.,
                139 U.S. 658 (1891) ........................................................................ 23, 25

             Am. Mills Co. v. Am. Sur. Co. of New York,
               260 U.S. 360 (1922) .............................................................................. 23

             In re Apple Processor Litig.,
                No. 22-16164, 2023 WL 5950622 (9th Cir. Sept. 13, 2023) .................. 6

             Arroyo v. Rosas,
               19 F.4th 1202 (9th Cir. 2021) .............................................................. 11

             Avco Corp. v. Aero Lodge No. 735, Int’l Ass’n of Machinists &
               Aerospace Workers,
               390 U.S. 557 (1968) ........................................................................ 13, 14

             Barranco v. 3D Systems Corp.,
               952 F.3d 1122 (9th Cir. 2020) .............................................................. 15

             Beacon Theatres, Inc. v. Westover,
               359 U.S. 500 (1959) .............................................................................. 17

             Bowen v. Energizer Holdings, Inc.,
               118 F.4th 1134 (9th Cir. 2024)............................................................. 21

             Bruckman v. Hollzer,
               152 F.2d 730 (9th Cir. 1946) .................................................................. 8


                                                               ii
(102 of 134), Page 102 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 4 of 36




             Calise v. Meta Platforms, Inc.,
               103 F.4th 732 (9th Cir. 2024) .............................................................. 21

             Cates v. Allen,
               149 U.S. 451 (1893) ...................................................................... passim

             Connecticut Gen. Life Ins. Co. v. New Images of Beverly Hills,
               321 F.3d 878 (9th Cir. 2003) ................................................................ 24

             Davidson v. Sprout Foods, Inc.,
               106 F.4th 842 (9th Cir. 2024) .............................................................. 21

             Davis v. Passman,
               442 U.S. 228 (1979) .............................................................................. 14

             Di Giovanni v. Camden Fire Ins. Ass’n,
                296 U.S. 64 (1935) ................................................................................ 14

             Digit. Media Sols., LLC v. S. Univ. of Ohio, LLC,
               59 F.4th 772 (6th Cir. 2023) .......................................................... 19, 22

             Ellipso, Inc. v. Mann,
                480 F.3d 1153 (D.C. Cir. 2007) ............................................................ 24

             Granfinanciera, S.A. v. Nordberg,
               492 U.S. 33 (1989) ................................................................................ 17

             Grupo Mexicano de Desarrollo S.A. v. All. Bond Fund, Inc.,
               527 U.S. 308 (1999) .............................................................................. 14

             Guzman v. Polaris Indus. Inc.,
               49 F.4th 1308 (9th Cir. 2022) ...................................................... passim

             Ibarra v. Manheim Invs., Inc.,
                775 F.3d 1193 (9th Cir. 2015) .............................................................. 20

             Keene v. Hale-Halsell Co.,
               118 F.2d 332 (5th Cir. 1940) ................................................................ 20

             Morgan v. City & Town of Beloit,
               74 U.S. 613 (1868) ................................................................................ 18



                                                                iii
(103 of 134), Page 103 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 5 of 36




             Pusey & Jones Co. v. Hanssen,
               261 U.S. 491 (1923) .............................................................................. 22

             Quackenbush v. Allstate Ins. Co.,
               517 U.S. 706 (1996) ................................................................ 4, 7, 10, 11

             Ross v. Bernhard,
               396 U.S. 531 (1970) ................................................................................ 8

             Ruhrgas AG v. Marathon Oil Co.,
               526 U.S. 574 (1999) .............................................................................. 24

             S. Pac. R.R. Co. v. United States,
                200 U.S. 341 (1906) .............................................................................. 25

             Schlesinger v. Councilman,
               420 U.S. 738 (1975) ............................................................................ 7, 8

             Schoenthal v. Irving Tr. Co.,
               287 U.S. 92 (1932) ................................................................................ 17

             Scott v. Neely,
               140 U.S. 106 (1891) .............................................................................. 18

             Sonner v. Premier Nutrition Corp.,
               971 F.3d 834 (9th Cir. 2020) ........................................................ passim

             Sonner v. Premier Nutrition Corp.,
               49 F.4th 1300 (9th Cir. 2022) ................................................................ 6

             Twist v. Prairie Oil & Gas Co.,
               274 U.S. 684 (1927) ...................................................................... passim

             Tyler v. Savage,
               143 U.S. 79 (1892) ................................................................................ 25

             Younger v. Harris,
               401 U.S. 37 (1971) ................................................................................ 17

             Statutes

             28 U.S.C. § 1332(d) ..................................................................................... 5


                                                                 iv
(104 of 134), Page 104 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 6 of 36




             28 U.S.C. § 1367(c).................................................................................... 11

             Other Authorities

             Fed. R. Civ. P. 18(a) .................................................................................... 8

             Fed. R. Civ. P. 38(a) .................................................................................. 24

             Fed. R. Civ. P. 38(d) .................................................................................. 24

             Restatement (Third) of Restitution and Unjust Enrichment
               § 4 cmt. c (2011).................................................................................... 16




                                                                  v
(105 of 134), Page 105 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 7 of 36




                                            INTRODUCTION

                   This case raises the question of whether a federal court is required

             to remand a putative class action in which the plaintiff strategically

             withholds a purportedly adequate legal claim to undermine the Class

             Action Fairness Act (“CAFA”) by depriving the federal court of equitable

             jurisdiction. The answer to this question must be no: lack of equitable

             jurisdiction is not an authorized basis for remand here, and there is no

             justification for recognizing it as such. Further, a defendant must be

             permitted to waive its adequate-remedy-at-law defense.                    Ruiz’s

             position—and the district court’s remand order—lacks precedential

             support and relies on a distorted construction of equitable jurisdiction

             that transforms the doctrine from a shield defendants can raise to protect

             their right to a jury trial into a sword plaintiffs can wield to deprive out-

             of-state defendants of their right to a federal forum.

                   Ruiz argues that the Ninth Circuit’s recent decisions in Sonner v.

             Premier Nutrition Corp., 971 F.3d 834 (9th Cir. 2020) (“Sonner I”), and

             Guzman v. Polaris Indus. Inc., 49 F.4th 1308 (9th Cir. 2022), compel

             remand here. This is plainly incorrect. In both Sonner I and Guzman,

             the defendant raised the court’s lack of equitable jurisdiction as a basis



                                                       1
(106 of 134), Page 106 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 8 of 36




             for dismissal of equitable claims. Neither case authorizes (let alone

             compels) remand based on a plaintiff’s tactical decision to plead only

             equitable claims.

                   To the extent district courts have interpreted Sonner I and Guzman

             to compel remand in these circumstances, this case presents a crucial

             opportunity to clarify the law and reject the untenable consequences that

             flow from those district court decisions.1 Because the Supreme Court and

             this Court have consistently held that the adequate-remedy-at-law

             doctrine bears on both a federal court’s authority to issue a remedy and

             a defendant’s right to a jury trial, but not on a court’s jurisdiction, remand

             should not be permitted in this circumstance.

                   Ruiz does not make a compelling case for his novel interpretation

             of controlling authority. He concedes that no recognized basis for remand

             exists here, acknowledging that subject-matter jurisdiction was proper,

             there was no defect in removal, and no abstention doctrine applies in

             these circumstances. Because it was never contemplated that plaintiffs


             1 Appellant The Bradford Exchange, Ltd. (“Bradford”) is aware of at least

             three remand orders based on lack of equitable jurisdiction that have
             been appealed to this Court since Bradford filed its Opening Brief: Hortin
             v. Kraft Heinz Foods Co., No. 24-5682; Young v. Renewal by Andersen,
             LLC, No. 24-6095; and Haver v. General Mills, Inc., No. 24-6784.


                                                       2
(107 of 134), Page 107 of 134Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 9 of 36




             would forgo adequate remedies at law to avoid federal court, any cases

             suggesting that a lack of equitable jurisdiction in the abstract can be a

             basis for remand have little persuasive value here. Ruiz’s argument that

             the adequate-remedy-at-law defense is not waivable also falls flat, as it

             is based on Ruiz’s attempt to equate equitable jurisdiction with subject-

             matter jurisdiction, a false equivalence that the Supreme Court has

             rejected. Numerous controlling cases permit waiver of the adequate-

             remedy-at-law defense, and Ruiz does not cite a single case prohibiting

             such waiver. Further, the fact that Bradford’s waiver was conditional

             does not justify the district court’s erroneous decision to prohibit that

             waiver. For the reasons set forth below and in the Opening Brief, the

             district court’s remand order should be reversed and vacated.

                                               ARGUMENT

             I.    The District Court Erred in Remanding Due to a Lack of
                   Equitable Jurisdiction.

                   A.     Ruiz Concedes That No Recognized Basis for Remand
                          Exists Here.

                   Ruiz concedes that no statutory or non-statutory basis for remand

             exists here. See generally OB-17–21.2 He does not contend the district


             2 Citations to the Opening and Answering Briefs are to OB-page# and

             AB-page#, respectively.


                                                       3
(108 of 134), Page 108 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 10 of 36




             court lacked subject-matter jurisdiction or that there was some defect in

             removal. And he does not dispute that courts have recognized only three

             limited, nontextual bases for remanding a case to state court pursuant to

             a federal court’s “inherent authority” and that none apply here. Thus,

             there should be no further inquiry.

                   Nonetheless, Ruiz suggests that Sonner I and Guzman compel

             remand, and argues that (1) “a federal court’s inability to adjudicate an

             equitable claim due to lack of equitable jurisdiction is analogous to a

             federal court ‘declin[ing] to exercise jurisdiction under abstention

             principles,’”; (2) Cates v. Allen, 149 U.S. 451 (1893), Twist v. Prairie Oil

             & Gas Co., 274 U.S. 684 (1927), and Quackenbush v. Allstate Insurance

             Co., 517 U.S. 706 (1996), “all say that federal courts have the power to

             remand such equitable actions when they were previously removed from

             state court”; and (3) “there is also a close analogy between lack of

             equitable jurisdiction and a federal court’s power to dismiss or remand

             state-law claims that are before the court based on supplemental

             jurisdiction in a federal-question case.” AB-20–26 (quoting Guzman, 49

             F.4th at 1314). These arguments do not stand up to scrutiny.

                   First, “abstention principles” do not support remand for multiple



                                                      4
(109 of 134), Page 109 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 11 of 36




             reasons, which Bradford articulated in its Opening Brief. OB-19–27. To

             begin, the Supreme Court has identified just a few narrow abstention

             doctrines—Younger, Pullman, Burford, and Thibodaux abstention—and

             none of those apply here. See id. at 20–21. Ruiz does not disagree. In

             the absence of an established doctrine to support abstention, abstention

             is unavailable. See Adkins v. VIM Recycling, Inc., 644 F.3d 483, 496–97

             (7th Cir. 2011) (reversing district court’s decision to abstain and

             emphasizing that the “[u]se of a judge-made abstention doctrine to refuse

             to hear” a case over which the court had original jurisdiction constitutes

             “an end-run around congressional will”).               Any expansion of such

             abstention principles makes no sense here, as Congress has already

             delineated via CAFA the scenarios in which district courts are either

             required or permitted to abstain based on comity concerns. See OB-22–

             23; Adams v. W. Marine Prods., Inc., 958 F.3d 1216, 1220–21 (9th Cir.

             2020) (describing “local controversy” and “home state exceptions” under

             CAFA) (citing 28 U.S.C. § 1332(d)). This is not one of those scenarios.

                   Sonner I and Guzman do not support a different outcome. In both

             cases, the defendants raised the adequate-remedy-at-law doctrine as a

             defense in the context of dispositive motions; neither case addresses a



                                                      5
(110 of 134), Page 110 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 12 of 36




             district court’s authority to remand.            Bases for dismissal are not

             commensurate with bases for remand.3 Moreover, in Sonner v. Premier

             Nutrition Corp., 49 F.4th 1300, 1303 (9th Cir. 2022) (“Sonner II”), the

             Court clarified that it “did not indicate [in Sonner I] that Sonner’s failure

             to plead an inadequate remedy at law deprived the district court of

             jurisdiction over her complaint.”

                   In Guzman, the Court simply held that equitable jurisdiction is

             “required for a federal court to hear the merits of an equitable claim”—

             i.e., to “make a merits determination as to liability.” 49 F.4th at 1314.

             Because the district court found as a result of the defendant’s motion for

             summary judgment that it lacked equitable jurisdiction, the Court held

             it should have dismissed the plaintiff’s equitable claim without prejudice

             instead of “granting summary judgment in favor of [the plaintiff] on this

             claim.” Id. at 1315. The Court did not hold, however, that the district

             court should have dismissed the case at the outset or otherwise refused


             3 In re Apple Processor Litig., No. 22-16164, 2023 WL 5950622 (9th Cir.

             Sept. 13, 2023), an unpublished Ninth Circuit case on which Ruiz also
             relies, similarly addressed dismissal, rather than remand. This Court
             held, not that the district court lacked authority to consider the plaintiffs’
             claims, but that the plaintiffs “were obligated to allege that they had no
             adequate legal remedy in order to state a claim for equitable relief.” Id.
             at 2.


                                                      6
(111 of 134), Page 111 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 13 of 36




             to take jurisdiction over the complaint. The fact that a lack of equitable

             jurisdiction (if not waived) may result in a district court’s inability to

             issue a judgment on the merits of a claim does not mean the court lacks

             power to hear the case. See infra § I(B)(i). And here, of course, any such

             inability was manufactured (and can be rectified) by Ruiz.

                   Second, Ruiz is wrong that Cates, Twist, and Quackenbush support

             remand in these circumstances. Most importantly, none of those cases

             involve a court remanding on the basis that it lacked equitable

             jurisdiction simply because the plaintiff did not allege the absence of an

             adequate remedy at law. Both Cates and Twist are also inapplicable

             because they were decided before the merger of law and equity. As the

             Supreme Court has stated, “ancient lineage, particularly if sprung from

             circumstances no longer existent,” does not “establish[] the contemporary

             utility of a rule.” Schlesinger v. Councilman, 420 U.S. 738, 755 (1975).

             Thus, even to the extent it could be argued that the adequate-remedy-at-

             law doctrine had some bearing on a federal court’s power to act prior to

             the merger of law and equity, the 1938 enactment of the Federal Rules of

             Civil Procedure in connection with that merger foreclosed any such

             conception. “Under the Rules there is only one action—a ‘civil action’—



                                                      7
(112 of 134), Page 112 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 14 of 36




             in which all claims may be joined and all remedies are available.” Ross

             v. Bernhard, 396 U.S. 531, 539 (1970).

                   Indeed, the original version of Federal Rule of Civil Procedure 18(a)

             provided that a party asserting a claim or counterclaim “may join either

             as independent or as alternate claims as many claims either legal or

             equitable or both as he may have against an opposing party.” Bruckman

             v. Hollzer, 152 F.2d 730, 732 n.5 (9th Cir. 1946) (quoting Fed. R. Civ. P.

             18(a)). It would be nonsensical to permit a plaintiff to join “alternate”

             legal and equitable claims if the existence of a potentially viable legal

             claim deprived the court of the power to act (as opposed to issue a remedy)

             in connection with the equitable claims. If equitable jurisdiction were

             truly jurisdictional as Ruiz seems to contend, whenever plaintiffs joined

             “alternate” legal and equitable claims, a court would be required to

             remand or dismiss the equitable claims, thereby undermining the rule.

                   The facts of Cates reflect its lack of “contemporary utility.”

             Schlesinger, 420 U.S. at 755. In Cates, the Supreme Court held that a

             court of equity lacked jurisdiction to hear a fraudulent assignment or

             transfer claim against a debtor until the creditor established the debt in

             a court of law. 149 U.S. at 457. A creditor’s obligation in 1893 to obtain



                                                      8
(113 of 134), Page 113 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 15 of 36




             a judgment at law before pursuing fraud claims in equity has no

             application under the current federal judicial system. Cates also equated

             the court of equity’s lack of jurisdiction in that scenario to a lack of

             “jurisdiction based upon the subject-matter of the litigation” and found

             that the action was thus “improperly removed” under the 1875 removal

             statute. Id. at 460. Yet Ruiz acknowledges that, as this Court has held,

             “[e]quitable jurisdiction is distinct from subject matter jurisdiction.” AB-

             22 (quoting Guzman, 49 F.4th at 1314).

                   Twist similarly does not help Ruiz. There, the plaintiff’s improper

             joinder of “an action at law with one in equity” resulted in a dispute

             regarding whether the case should have been decided as one at law or in

             equity and the resultant implications for appellate review. 274 U.S. at

             686–89. The Supreme Court held that the Court of Appeals erred in

             limiting the scope of its review because “the proceeding was

             unmistakably a suit in equity.” Id. at 691–92. In so holding, the Court

             discussed a district court’s power to “transfer” a suit “improperly brought

             in equity . . . to the law side” “under the Act of March 3, 1915” and “equity

             rules 22 and 23,” and stated that “[t]he practice is the same in suits

             removed from a state court, except that the suit is remanded to the state



                                                      9
(114 of 134), Page 114 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 16 of 36




             court where the equitable relief sought, although beyond the equitable

             jurisdiction of the federal court, may be granted by the state court.” Id.

             at 689–90.

                   Ruiz invokes this statement as authority for remand here. Yet the

             considerations at issue in Twist—which was decided under an entirely

             different set of rules and circumstances—are no longer relevant today.

             Moreover, the Twist court expressly sanctioned a defendant’s right to

             “waive[]” the “objection of lack of equity jurisdiction,” given that equitable

             jurisdiction “goes not to the power of the court as a federal court, but to

             the merits,” holding that such waiver would place “the suit [in] a class

             within the jurisdiction-that is, the power-of a federal court sitting in

             equity.” Id. at 691 (citations omitted). Twist therefore makes clear that

             equitable jurisdiction does not restrict a court’s “power . . . as a federal

             court” and therefore does not support remand here.

                   The last of Ruiz’s three cases, Quackenbush, is inapposite because

             it concerned the limits of Burford abstention, which applies only if the

             case “presents difficult questions of state law bearing on policy problems

             of substantial public import whose importance transcends the result in

             the case then at bar, or if its adjudication in a federal forum would be



                                                      10
(115 of 134), Page 115 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 17 of 36




             disruptive of state efforts to establish a coherent policy with respect to a

             matter of substantial public concern.” 517 U.S. at 726–27 (citations and

             internal quotation marks omitted). The district court’s remand here does

             not fit in that category of abstention.

                   Finally, the district court’s decision to remand was not akin to

             declining supplemental jurisdiction over state-law claims in a federal-

             question case, as Ruiz contends. See AB-25–26. Indeed, the concept of

             supplemental jurisdiction is entirely inapplicable here because the

             district court has original jurisdiction over this entire case under CAFA.

             Moreover, courts may only decline to exercise supplemental jurisdiction

             over state-law claims in federal-question cases for four statutorily

             enumerated reasons: (1) the claim raises a novel or complex issue of state

             law; (2) the claim substantially predominates over the claim or claims

             over which the district court has original jurisdiction; (3) the district

             court has dismissed all claims over which it has original jurisdiction; or

             (4) in exceptional circumstances, there are other compelling reasons for

             declining jurisdiction. Arroyo v. Rosas, 19 F.4th 1202, 1210 (9th Cir.

             2021) (citing 28 U.S.C. § 1367(c)). Ruiz does not explain how any of these

             circumstances apply. As to the first, the claims at issue here do not raise



                                                      11
(116 of 134), Page 116 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 18 of 36




             novel or complex issues of state law; in fact, the Ninth Circuit sees these

             claims regularly. As to the second and third, it is undisputed that the

             federal court has original jurisdiction under CAFA. And there are no

             exceptional circumstances or compelling reasons to decline jurisdiction

             here.

                     Accordingly, Ruiz’s Answering Brief only confirms that the district

             court lacked any support for its decision to remand.

                     B.   Expanding the Bases for Remand to Include Lack of
                          Equitable Jurisdiction Turns the Doctrine on Its Head.

                     Even if the district court had the power to ignore binding precedent

             and recognize a new basis for remand in these circumstances, it should

             not have done so, as Ruiz’s proposed conception of equitable jurisdiction

             runs contrary to the doctrine’s controlling principles and would bring

             about an untenable expansion of the doctrine that would be rife for abuse.

                     First, Ruiz ignores controlling case law that makes clear the

             adequate-remedy-at-law doctrine concerns a plaintiff’s ability to obtain

             equitable relief, not a federal court’s power to act. Moreover, Ruiz cannot

             justify how his conception of equitable jurisdiction aligns with the

             fundamental reason the doctrine limits federal courts’ authority to award

             equitable relief—i.e., to protect the defendant’s right to a jury trial.


                                                      12
(117 of 134), Page 117 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 19 of 36




                   Second, sanctioning remand simply because a plaintiff does not

             allege that it lacks an adequate remedy at law will have far-reaching

             undesirable consequences. As Ruiz argues, courts in the Ninth Circuit

             would be required, whenever they are presented with an equitable claim

             or remedy, to sua sponte (1) consider whether an adequate remedy at law

             exists, and (2) remand or dismiss if they are not convinced one is lacking.

             The Ninth Circuit would be the only Court of Appeals with this threshold

             requirement, and it would block innumerable class action defendants

             from accessing California federal courts despite Congress’s express

             intention to expand such access.

                        i.      The adequate-remedy-at-law doctrine bears on
                                both a federal court’s authority to issue a remedy
                                and a defendant’s right to a jury trial, but not on
                                a federal court’s fundamental power to act.

                   The Supreme Court has consistently explained that equitable

             jurisdiction of the type at issue in this case concerns a federal court’s

             authority to issue a remedy. As the Court stated in Avco Corp. v. Aero

             Lodge No. 735, International Association of Machinists & Aerospace

             Workers, “[t]he nature of the relief available after jurisdiction attaches is,

             of course, different from the question whether there is jurisdiction to

             adjudicate the controversy.” 390 U.S. 557, 561 (1968). Thus, although a


                                                      13
(118 of 134), Page 118 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 20 of 36




             federal court may “lack[] the general equity power to grant the particular

             relief,” it does not lack jurisdiction over the case. Id.

                   Similarly, in Di Giovanni v. Camden Fire Insurance Association,

             the Court stated that “[w]hether a suitor is entitled to equitable relief in

             the federal courts, other jurisdictional requirements being satisfied, is

             strictly not a question of jurisdiction in the sense of the power of a federal

             court to act,” but rather “is a question only of the merits,” i.e., “whether

             the case is one for the peculiar type of relief which a court of equity is

             competent to give.” 296 U.S. 64, 69 (1935); see also, e.g., Grupo Mexicano

             de Desarrollo S.A. v. All. Bond Fund, Inc., 527 U.S. 308, 318–19 (1999)

             (explaining that “[t]he substantive prerequisites for obtaining an

             equitable remedy . . . depend on traditional principles of equity

             jurisdiction”) (citation omitted). And, because “[a] plaintiff may have a

             cause of action even though he be entitled to no relief at all,” the inability

             of federal court to award equitable relief cannot bear on its power to act.

             Davis v. Passman, 442 U.S. 228, 239 n.18 (1979).

                   The Ninth Circuit’s articulation of the adequate-remedy-at-law

             doctrine aligns with that conception. As this Court held in Agua Caliente

             Band of Cahuilla Indians v. Hardin, “the adequacy of a remedy at law



                                                      14
(119 of 134), Page 119 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 21 of 36




             bears on whether a court ought to act, not whether a court has the power

             to act.” 223 F.3d 1041, 1050 n.11 (9th Cir. 2000). This Court’s decision

             in Barranco v. 3D Systems Corp., 952 F.3d 1122 (9th Cir. 2020), is also

             instructive.    There, the Court held that the district court erred in

             “exercis[ing] its equitable jurisdiction” to award equitable relief under a

             theory of unjust enrichment on a legal claim for breach of contract where

             damages were potentially available. Id. at 1129–31. In so holding, the

             Court stated that “[t]he necessary prerequisite for a court to award

             equitable remedies”—not for a court to assert jurisdiction over the case—

             “is the absence of an adequate remedy at law.” Id. at 1130 (citations and

             internal quotation marks omitted)4; see also, e.g., Sonner I, 971 F.3d at

             844 (“Sonner must establish that she lacks an adequate remedy at law

             before securing equitable restitution for past harm under the UCL and

             CLRA.”).

                   Given the clear articulation by both the Supreme Court and the



             4 Contrary to Ruiz’s contention in his Notice of Supplemental Authority,

             Dkt. 28.1 at 2, Barranco does not preclude Bradford’s waiver of its
             adequate-remedy-at-law defense; rather, in Barranco, the Court simply
             held that the parties’ contractual language declaring money damages
             inadequate in the event of a breach did not in and of itself require the
             court to grant equitable relief.


                                                      15
(120 of 134), Page 120 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 22 of 36




             Ninth Circuit that equitable jurisdiction of the type at issue here does

             not bear on a federal court’s power to act, the district court

             unquestionably erred when it found it’s supposed lack of equitable

             jurisdiction limited its ability to act in this case. Ruiz is wrong that

             Bradford conceded the validity of this finding or that Bradford “ma[de]

             no attempt to explain any different view of what federal equitable

             jurisdiction is.” See AB-19. Because equitable jurisdiction is not truly

             “jurisdictional,” it should come as no surprise that Ruiz has been unable

             to locate a single controlling case permitting remand where a plaintiff

             simply does not allege that it lacks an adequate remedy at law.

                   And remand makes particularly little sense in these circumstances

             because Ruiz is seeking the same relief through his “equitable” claims as

             he would seek through the legal claims he is intentionally foregoing—

             monetary damages for the alleged harm he suffered from Bradford’s

             purported failure to comply with California’s autorenewal statute. See

             Restatement (Third) of Restitution and Unjust Enrichment § 4 cmt. c

             (2011) (“[T]he question whether restitution is legal or equitable is

             essentially artificial.”); Sonner I, 971 F.3d at 844 (noting that the plaintiff

             was seeking the “same amount of money for the exact same harm”



                                                      16
(121 of 134), Page 121 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 23 of 36




             through an equitable claim under the UCL and a legal claim under the

             CLRA); cf. Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 49 (1989)

             (“[A]ny distinction that might exist between ‘damages’ and monetary

             relief under a different label is purely semantic . . . .”).

                   Plaintiff’s conception of the adequate-remedy-at-law doctrine as a

             sword he can wield to avoid federal court is also inconsistent with the

             “fundamental purpose of restraining equity jurisdiction within narrow

             limits,” which is to “prevent erosion of the role of the jury.” Younger v.

             Harris, 401 U.S. 37, 44 (1971); see also Sonner I, 971 F.3d at 842 (“[T]he

             principle precluding courts from awarding equitable relief when an

             adequate legal remedy exists implicates the well-established federal

             policy of safeguarding the constitutional right to a trial by jury in federal

             court.”); Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 509 n.15 (1959)

             (“[U]nless there is an issue of a right to jury trial or of other rights which

             depend on whether the cause is a ‘legal’ or ‘equitable’ one, the question of

             adequacy of legal remedies is purely academic and need not arise.”);

             Schoenthal v. Irving Tr. Co., 287 U.S. 92, 94 (1932) (adequate-remedy-at-

             law doctrine “serves to guard the right of trial by jury preserved by the

             Seventh Amendment”).



                                                      17
(122 of 134), Page 122 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 24 of 36




                   In light of the protection the adequate-remedy-at-law doctrine is

             intended to provide defendants, courts have consistently stated that

             plaintiffs must seek a legal remedy if one exists. See OB-31–33; Sonner

             I, 971 F.3d at 842 (“[W]henever . . . a court of law is competent to render

             a judgment affording a plain, adequate, and complete remedy, the party

             aggrieved must seek his remedy in such court . . . because the defendant

             has a constitutional right to a trial by jury.”) (quoting Scott v. Neely, 140

             U.S. 106, 110 (1891)); see also Morgan v. City & Town of Beloit, 74 U.S.

             613, 618 (1868) (noting that when the remedy at law is “as plain,

             adequate, and complete, and as practical and efficient to the ends of

             justice, and to its prompt administration, as the remedy in equity,” “the

             party seeking redress must pursue it” because “[i]n such cases the

             adverse party has a constitutional right to a trial by jury”) (citations and

             internal quotation marks omitted). Thus, Ruiz should not benefit from

             refusing to assert his allegedly adequate legal claims.               Rather, the

             consequence should be his inability to obtain relief if Bradford elects to

             file a dispositive motion on that basis.

                       ii.      The consequences of recognizing remand here
                                would be grave and far-reaching.

                   Prohibiting district courts from considering claims where the


                                                      18
(123 of 134), Page 123 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 25 of 36




             plaintiff simply does not allege that it lacks an adequate remedy at law,

             even absent an objection from the defendant, would create an untenable

             situation that would be rife for abuse. District courts in the Ninth Circuit

             would be required to sua sponte dismiss or remand all equitable claims

             and relief pleaded by plaintiffs if it was not apparent from the pleadings

             that the plaintiff lacked an adequate remedy at law.5 That would mean

             district courts would be unable to hear not only claims under the UCL

             and FAL, as here, but also claims for unjust enrichment and equitable

             subrogation,     for   example,      and      any   requested     injunctive   and

             restitutionary relief.

                   Bradford is not aware of any other Courts of Appeals that require

             remand in these circumstances. And some have expressly rejected any

             such conception of equitable jurisdiction. See Digit. Media Sols., LLC v.

             S. Univ. of Ohio, LLC, 59 F.4th 772, 779 (6th Cir. 2023) (explaining that,

             “[g]iven the [Supreme] Court’s recent caution about the mistaken use of

             the word ‘jurisdiction’ (which concerns a court’s power to adjudicate a

             case), we doubt the Court would say ‘equity jurisdiction’ today,” as “[t]he



             5 Indeed, Ruiz contends that “lack of equitable jurisdiction can be raised

             by any party or by the court sua sponte.” AB-30.


                                                      19
(124 of 134), Page 124 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 26 of 36




             phrase does not implicate the ‘power of a federal court to act’ but instead

             ‘a question only of the merits’ about whether a ‘court of equity’ may grant

             relief”) (citations omitted); Keene v. Hale-Halsell Co., 118 F.2d 332, 335

             (5th Cir. 1940) (stating that existence of an adequate remedy at law

             would not be a basis for remand after the Federal Rules of Civil Procedure

             were enacted because, under the Rules, “all remedies, legal and

             equitable, are available”).

                   Further, given that consumer plaintiffs in California putative class

             actions regularly bring only UCL and FAL claims, the Ninth Circuit

             (which is a hotbed of such class action litigation) would be denying

             defendants access to a federal forum in the very cases over which

             Congress     explicitly   granted     federal    courts    original   jurisdiction.

             “Congress designed the terms of CAFA specifically to permit a defendant

             to remove certain class . . . actions into federal court” and “intended

             CAFA to be interpreted expansively.” Ibarra v. Manheim Invs., Inc., 775

             F.3d 1193, 1197 (9th Cir. 2015).                Ruiz’s conception of equitable

             jurisdiction thwarts Congress’s achievement of those goals.

                   Notably, if the alleged existence of an adequate remedy at law

             deprived a federal court of jurisdiction over all equitable claims and



                                                      20
(125 of 134), Page 125 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 27 of 36




             remedies, this Court should have sua sponte considered its equitable

             jurisdiction in many cases in which it issued substantive rulings without

             doing so, including in cases decided since Guzman. See, e.g., Davidson v.

             Sprout Foods, Inc., 106 F.4th 842 (9th Cir. 2024) (involving UCL and FAL

             as well as CLRA and common-law fraud claims); Bowen v. Energizer

             Holdings, Inc., 118 F.4th 1134, 1140 n.4 (9th Cir. 2024) (involving UCL,

             FAL, and unjust enrichment as well as CLRA, common-law fraud, and

             product liability claims); Calise v. Meta Platforms, Inc., 103 F.4th 732

             (9th Cir. 2024) (involving UCL and unjust enrichment as well as

             negligence and breach of contract claims).

                   Requiring remand in these circumstances is inconsistent with the

             law in the Ninth Circuit as well as other Courts of Appeals and would gut

             CAFA in a wide swath of California consumer class actions. For these

             reasons, Bradford urges this Court to seize the opportunity to limit

             further misinterpretation of Sonner and Guzman.

             II.   This Court Should Recognize Bradford’s Waiver of the
                   Adequate-Remedy-at-Law Defense.

                   In its Opening Brief, Bradford argued that the district court erred

             in rejecting Bradford’s proffer to waive its adequate-remedy-at-law

             defense to the extent the court believed it had authority to remand. OB-


                                                      21
(126 of 134), Page 126 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 28 of 36




             36–42. In response, Ruiz argues that (1) “the boundaries of equitable

             jurisdiction represent a real restriction on the power of federal courts,

             separate and apart from any ‘defense’ that a party may assert”; and

             (2) “Bradford did not actually waive anything in this case.” AB-29–34.

             Both arguments are unavailing.

                   As set forth in the Opening Brief, the Supreme Court, Ninth

             Circuit, and other Courts of Appeals have held that defendants can waive

             both objections to equitable jurisdiction as a general matter and the

             adequate-remedy-at-law defense more specifically.                  See OB-37–38

             (collecting cases); see also Digit. Media Sols., 59 F.4th at 779 (explaining

             that the Supreme Court has “reasoned that a party could waive the claim

             that a court lacked ‘equity jurisdiction’ (unlike the claim that it lacked

             subject-matter jurisdiction)”). This includes Twist, on which Ruiz relies.

             AB-25; 274 U.S. at 691 (noting that it is “possible” for a defendant to

             “waive[] the objection of lack of equity jurisdiction”). A defendant’s ability

             to waive the objection to lack of equitable jurisdiction flows from the fact

             that equitable jurisdiction “goes not to the power of the court as a federal

             court, but to the merits,” i.e., the court’s authority to issue the remedy

             the plaintiff seeks. Twist, 274 U.S. at 691 (citations omitted). Pusey &



                                                      22
(127 of 134), Page 127 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 29 of 36




             Jones Co. v. Hanssen, 261 U.S. 491, 500 (1923), another case Bradford

             cited and Ruiz does not address, stands for the same proposition. See

             OB-37–38.

                   Ruiz’s attempt to distinguish American Mills Co. v. American

             Surety Co. of New York, 260 U.S. 360 (1922), is unpersuasive.                The

             Supreme Court there unambiguously held that “[a] defendant in a bill of

             equity may waive” the “defect” that the plaintiff has an adequate remedy

             at law. Id. at 363; see also id. at 366 (holding that defendant “waived its

             previous objection to the equitable jurisdiction” of the court). To the

             extent Ruiz seeks to rely on other cases decided under antiquated rules,

             including Twist, Cates, and Allen v. Pullman’s Palace-Car Co., 139 U.S.

             658 (1891), he cannot challenge the applicability of American Mills on the

             ground that the Court was considering a procedural rule “which has long

             since been abrogated.” AB-33.

                   Tellingly, Ruiz does not cite a single case holding that a defendant

             cannot waive its adequate-remedy-at-law defense.                    Instead, Ruiz

             contends that “lack of equitable jurisdiction is a restriction on the Court,

             not a personal privilege of a single party.” AB-29 (capitalization omitted).

             But even if the adequate-remedy-at-law doctrine were considered a



                                                      23
(128 of 134), Page 128 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 30 of 36




             “restriction on the Court” in some senses, that does not mean it cannot

             be waived.

                   Take, for example, personal jurisdiction. See generally OB-38–40.

             As the Supreme Court stated in Ruhrgas AG v. Marathon Oil Co.,

             personal jurisdiction, like subject-matter jurisdiction, “is an essential

             element of the jurisdiction of a district . . . court, without which the court

             is powerless to proceed to an adjudication.” 526 U.S. 574, 584 (1999)

             (citations and internal quotation marks omitted). Yet, although personal

             jurisdiction “represents a restriction on judicial power,” a defendant “may

             forgo th[e] right” to insist that personal jurisdiction be observed,

             “effectively consenting to the court’s exercise of adjudicatory authority.”

             Id. (citations omitted).      As the adequate-remedy-at-law waiver cases

             make clear, a defendant may likewise “forgo th[e] right” to challenge the

             equitable jurisdiction of the court.6

                   Ruiz’s interpretation of Connecticut General Life Insurance Co. v.

             New Images of Beverly Hills, 321 F.3d 878, 882 (9th Cir. 2003), and

             Ellipso, Inc. v. Mann, 480 F.3d 1153, 1160 (D.C. Cir. 2007), as “stand[ing]


             6 Consistent with the right to waive the adequate-remedy-at-law defense,

             a party may waive its right to a jury trial, a right which is otherwise
             “inviolate.” See Fed. R. Civ. P. 38(a), (d).


                                                      24
(129 of 134), Page 129 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 31 of 36




             only for the proposition that a litigant can waive the right to present an

             argument on appeal by failing to make it to the district court in the first

             instance,” actually supports Bradford’s position. AB-28. If Ruiz were

             correct that a federal court cannot “disregard[] the limited scope of its

             equitable jurisdiction,” AB-30, those courts would have been required to

             consider the objection to the district court’s equitable jurisdiction even

             though the defendants did not raise the argument in the district court (as

             is the case with subject-matter jurisdiction). Equitable jurisdiction, thus,

             cannot be a limit on the scope of a federal court’s power.

                   Allen and the district court cases Ruiz cited similarly make clear

             that equitable jurisdiction is not a true restriction on a federal court’s

             power. AB-30–31. Although the Supreme Court suggested in Allen that

             a court can sua sponte raise the absence of equitable jurisdiction,

             subsequent Supreme Court authority clarified that courts are not

             required to do so. See S. Pac. R.R. Co. v. United States, 200 U.S. 341, 349

             (1906) (holding that a “court is not necessarily obliged to entertain” an

             “objection that the plaintiff has an adequate remedy at law”); Tyler v.

             Savage, 143 U.S. 79, 97 (1892) (noting that courts can exercise discretion

             in considering objections that plaintiffs have adequate remedies at law).



                                                      25
(130 of 134), Page 130 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 32 of 36




             Ruiz is, thus, incorrect that any authority “require[s] that [his] claims be

             adjudicated in state court.” AB-33. Accordingly, the district court erred

             in rejecting Bradford’s proffer of waiver on the basis that Bradford’s

             equitable claims “cannot be adjudicated in federal court.” ER-12 n.2.

                   Finally, Ruiz’s argument that “Bradford did not actually waive

             anything in this case” should be rejected. AB-33–34. In its opposition to

             the motion to remand, Bradford argued that if the district court

             concluded that it had the authority to remand (which Bradford disputed),

             “Bradford would grudgingly waive its adequate-remedy-at law defense”

             and should be given “a fair opportunity to do so.” ER-59–60. In other

             words, Bradford did not affirmatively waive its defense because, in its

             view, Ruiz’s motion to remand was meritless, and denial of a meritless

             motion should not be conditioned on waiver of a defense.

                   In its remand order, the district court held that Bradford’s

             “conten[tion] that if the Court concludes that it has the authority to

             remand the case, it should be allowed to waive its adequate-remedy-at-

             law defense,” was “unavailing in light of Guzman, which held that the

             district court erred in granting summary judgment when it lacked

             equitable jurisdiction.”      ER-12 n.2.      The court concluded, “[b]ecause



                                                      26
(131 of 134), Page 131 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 33 of 36




             Plaintiff’s equitable claims cannot be adjudicated in federal court,

             remand should follow.” Id.

                   It is apparent from this holding that the district court understood

             that Bradford was requesting to waive the adequate-remedy-at-law

             defense if the court was otherwise inclined to remand the case. And the

             district court denied Bradford that opportunity. Because the district

             court based that denial on its erroneous belief that Ruiz’s “equitable

             claims cannot be adjudicated in federal court,” this Court should find that

             the district court abused its discretion in refusing to allow Bradford to

             waive its adequate-remedy-at-law defense. Id. That Bradford’s waiver

             was conditioned on the district court finding that it had the power to

             remand in the first place should not change that conclusion.

                                             CONCLUSION

                   The district court’s remand order should be reversed and vacated.




                                                      27
(132 of 134), Page 132 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 34 of 36




               Dated: November 26, 2024               Respectfully submitted:

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                                                      28
(133 of 134), Page 133 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 35 of 36




                                 CERTIFICATE OF COMPLIANCE

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                                                      29
(134 of 134), Page 134 of 134
                            Case: 24-3378, 11/26/2024, DktEntry: 29.1, Page 36 of 36




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